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             Exhibit 
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      1     to be brief and I will try and be through with them by

      2     1:30,       If I am not finished just come into the Courtroom
      3     and go directly into the jury room.

      4             I may find another judge also that can take these

      5     h~arings.       I am going to try.
      6     (RECESS)

      7                   THE COURT:     All right, bring in the jury, please.

      8     (WHEREUPON, THE JURY WAS BROUGHT BACK INTO THE COURTROOM)

      9                   THE COURT:     All right, the State may call its
     10     next witness.
     11                   MR. GAUBAS:    Thank you, Your Honor.            The People
     12     would call Walter Jatkowski.
     13                              OFFICER WALTER JATKOWSKI
     14     called as a witness in behalf of the People, and after
     15     having been first duly sworn, testjfied as follows in answer
     16
            to DIRECT EXAMINATION by MR. GAUBAS:
~

~    17
~                          THE COURT:    All right, I want to instruct the
z
~

~    18
N
            witness to please speak up and speak towards the jury so
0

~    19     they may hear you and also I will instruct the witness that
z
w
z    20
z
0
            you are not to discuss your testimony with anyone after you
>
<
m
     21
0
u           leave the Courtroom.
Q
<
~
z    22
~                   A    Yes, sir.
     23                    THE COURT:    You may proceed, Mr. Gaubas.
     24
                           MR. GAUBAS:    Thank you, Your Honor.


    SAVORY-LL-000615
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          1         Q     Please state your name, ~lling your last name for

          2   the record.

          3         A     Walter J. Jatkowski, Jr., J AT KO W SK I.

          4         Q     What is your occupation, Mr. Jatkowski?

          5         A     I am a patrolman within the City of Peoria Police

          6   Department, attached to the crime scene unit.·

          7          Q    How long have you been so employed by the

          8   Peoria Police Department?

          9          A    I have been employed by the Peoria Police Department

         10   for 5 and a half years and attached to the crime scene unit

         11   for 3 and a half years.

         12          Q    What particular duties are you assi..gned- to as a crime

         13    scene unit officer?

        14           A    We are requested to process felony crime scenes,

         15    generally felony crime scenes which include homocide, rapes,

         16    armed robbery, burglaries and other felonies.
;:"
::!
         17          Q    What particular duties were you assigned to on the
z
0:
..."     18    date of January 18th, 1977?
N
Q


"""      19          A     I was assigned to the duties that are performed by
~




"
.;
z
z
        20     the crime scene unit.
.."
~
        21
0
u
                     Q E    ·e you worked on homocide cases before~
..
~

~
        22           A     Yes, sir, I have.
        23           Q     Approximately how many homocides have you worked on?
        24           A     Approximately 15,


       SAVORY-LL-000616
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            1         Q   What particular type of training ha~e you had,

            2   Officer Jatkowski, to qualify your work in the crime scene

            3   unit with the Peoria Police Depart~ent?

            4        A    I was required to take 10 weeks of basic law

            5   enforcement courses taught at the University of Illinois

            6   for 6 weeks and the Peoria Police Department for 4 weeks.
            7        I then took criminal law course at ICC, criminal
            8   investigation course at ICC, basic fingerprint classifications
            9   and a~vanced fingerprint identification at _the University
        10      of Illinois taught by the FBI personnel.
        11            I completed the Institute of Applied Science course
        12      in Civil and Criminal Identification and Investigation.
        13
                I took a crime scene investigation course at the Chicago
        14      Police Department for one week, an additional crime scene
        15
                investigation course at Serly(sp.) Laboratory in Morristown,
        16
                New York, and I have been, during the first year I was in
;:"'    17
=               the crime scene unit I took in-service training through my
.
"'~
        18
N
                sergeant and supervisor, Sergeant Peter Gerrones and at
0

~       19
                that time Lieutenant Anthony Barry.
i
        20
                     Q    What kinds of in-service training have you been
       21
                involved in?
       22
                     A    During the first year I was in the crime scene
       23
                unit, I assisted investigations on ccres that had come about
       24
                that we had to investigate.          After the period of time when

       SAVORY-LL-000617
             1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 5 of 101




       1    I was doing the, assisting in the investigation, my investi-

       2    gations were then supervised by those 2 individuals.

       3           From that point on I have done my investigations on my

       4    own.

       5           0    All right.      Officer Jatkowski, have you received any

       6    specific training in the area of fingerprint identification?

       7           A    Yes, I have.

       8           Q    You mentioned 2 courses which you have~ken at the

       9    Universiw of IJJinois.
      10           A    The University of IllinoE, I took the 2 courses and
      11    also part of the course, studied in the Institute of Applied

      12
            Science course was fingerprinting.

      13           I    have also testified in Court as to identifications

      14    and during that first year when I had my in-service training

      15     all my identifications were confirmed by experts within

      16     the Peoria Police Department.
<
~     17           Q     Have you also qualified, been qualified in Court
=
~
«
~     18     as a witness to compare fingerprint identifications?
N

~0
      19           A     Yes, I have.

      20           Q     And you are thoroughly familiar with the process

      21     and of lifting fingerprints~

      22           A     Yes, I am.
      23           Q     And then making the actual comparisons where you

      24     took the suspected fingerprint and compared it to a then


     SAVORY-LL-000618
              1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 6 of 101




         1     known fingerprint?

         2           A    Yes, I have.

         3           Q    You say~u have worked on cases that have been gone

         4     to criminal Court in the past 3 and a half years, you have

         5    been in the crime scene unit?

         6           A    Yes, sir, I have.     I   have testified not only in the
         7    Circuit Court in Peoria County as to my expertise, but also

         8    in DeWitt County.

          9          Q    Have you qualified before in criminal Court in this
        10    County and in other counties in the area as an expert witness
        11    in the area of crime scene investigation?
        12          A Yes, I have.
        13
                    Q     Now, Officer Jatkowski, I would like to direct your
        14    attention to the date of January 18th, 1977, am ask you if
        15
              you received a call to go to ire lee ation of 3033 west Garden
        16
              Street, City of Peoria, Ill:i:nis?
....     17
=                   A     Yes, I had.    Approximately 1700 hours or 5 p.m.      I
..
:E

~       18
..
0
0
              was requested to go to that address and process a possible
:;      19
              homocide crime scene.
.
z

z       20
z
0                   At that--
~
0
        21
u                   Q     Excuse me.    Do you recall approximately what time
        22
              you arrived at that scene?
        23
                    A     I arrived at the scene at approximately 20 minutes
        24
              after I had received the call.

       SAVORY-LL-000619
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         1           I am first obligated to call my supervisor and advise

         2    him of the homocide crime scene and then it is his responsibil-

         3     ity to determine whether additional assistance will be needed

         4     at the crime scene.

         5           Q    Did you then proceed to that address':

         6           A    Yes, I did.
         7           Q    And approximately what time did you arrive?

         8           A    Approximately 20 minutes after I got the call or

         9     approximately 1720 or 5:20 p.m.
        10           Q    Were you the first crime scene unit officer at the
        11     scene?
        12           A    Yes, I was.
        13
                     Q    Did you take charge of the crime scene investigation
        14
               upon your arrival?
        15           A    Yes, we were responsible for the collection of
        16
               preservation of physical evidence at the crime scene.
<
::      17
=              And I was performing those duties when I arrived there.
,.
:r"'    18
N
                     Q    What did you do when you arrived, Officer JatkOwski?
0
~
0
        19
                     A    Initially we deployed a rope over the front yard
z
        20
               of the house, the back yard was enclosed in a chain link
        21
               fence.     I employed officers to protect that area of the
        22
               exterior of the home and not to allow any unwanted visitors
        23
               through there or indivicmls that would not be normally
        24
               connected to the investigation of the crime scene.


       SAVORY-LL-000620
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                        Q   Did you then proceed inside?
              2
                        A   Then I proceeded into the house and I was met there
              3   by Charlie Cannon, attached to the detective bureau.

              4         Q   All right.    Where did you go first,            once inside the

              5   house?
              6         A   Officer Cannon had s.howed, had informed me that there
              7   were 2 bodies in a bedroom in the rear of the home.                  I
              8   proceeded to that bedroom.
              9         Q   Now, Officer Jatkowski, i f you need to refer to this
          10      diagram that has been previously admitted into Court exhibits
         11       as an evidence aid during the course, please refer to it
         12       indicating which rooms you were in.
         13
                        This diagram has been previously admitted indicating
         14       that it truly an~ accurately portrays the floor plan of 3033
         15
                  West Garden on the date of January 18'\h, 1977.
         16
                        Q   Where did you go first then once inside the house?
;:"'     17
=
:r
                        A   When I first got into the
..."'
0
         18
..
"
                  the front door that led into the living room.                  That is the
l!
"        19
..;               door that swings into the house, right above the address
:i
         20
                  at the base c£ your drat-Jing.
         21
                        I    ~n proceeded down the hallway into bedroom number
         22
                  1 and appeared inside the room.            There were nolights inside
         23
                  the room at the time that I had arrived.
         24
                        All lights were extinguished and I had my flashlight,

        SAVORY-LL-000621
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      1    and I appeared at the 2 bodies.             I then went back into the

      2     livingroom.
      3           Q.   What did you do next':'
      4           A    Then I set up my equipment so that I could take

      5     crime scene photographs of the house.
      6           Q    Did you proceed to take photographs of the house?
      7                       I took the crime scene photographs, taken
                  A    Yes,
      8     color slide film and some taken in color print.
      9     I took the photographs first in the livingroom because
     10     this was the room that would be the easiest to disturb.
     11
            All the individuals were, that were in charge of the
     12                                                               So I began by
            investigation had to go inside this room.
     13
            clearing everyone out of the room and taking the photographs
     14
            of the crime scene so that I could process that room and
     15
            protect that evidence initially.
     16
                  Q    Did you proceed to photograph the other roams in
<
:    17
            the house?
     18
.
0
                  A    Yes, I did .   I photographed the kitchen area first.
~    19
            Not in detail, but in a general shot to show the position
     20
            of all the evidence that may be collected in that room.
     21
                  I then proceeded to the bathroom and took photographs
     22
            of the interior of the bathroom.             I then proceeded to bedroom
     23
            number 2 and too~ examined the room to see if any physical
     24
            evidence was apparent and took some general photographs

    SAVORY-LL-000622
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             of bedroom number 2.

       2           After I had taken detailed photographs of the living room,

       3     general photographs of the bedroom number 2, and t~                 bathroom,

       4     Officer John Bennett and Sergeant Peter Gerrones arrived on

       5     the scene.
       6           I then informed them what kind of situation I had at

       7     the crime scene and I had them take possession of the                kitchen

       8     and the livingroom areas, so that done of the evidence in

       9     those areas would be disturbed.

      10           Q    Where did you proceed next?

      11           A    I then proceeded to bedroom number 1 to start searchine

      12     for physical evidence.
      13           Q    Were you able to gather certain items of physical

      14     evidence in bedroom number l?

      15           A    Yes, I was.
      16           Q    Brifely, to the best of your knowledge, what items
<
~
N
      17     of physical evidence did you gather there, officer?
=
~
~

~     18           A    wen, I began by, after I had taken detailed photo-
N
0

~     19     graphs of the 2 bodies that were in the bedroom and general
~
z
w     20
z
z            photographs of the areas of the site               I then began to
0
~
m
0V    21     proceed with the bodies because they were to be removed by
0
C
~
z     22     mortuary personnel.
~


      23            I examined the bodies as thoroughly as I could examine

      24     the hands, the face, any areas where trace evidence could



     SAVORY-LL-000623
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          1    have been taken from the suspect and placed on the victims.
          2    After I made a thorough examination of the 2 bodies and
          3    collected the physical evidence off of them I left their
          4    clothing on them since irey were going to be transported in
          5    plastic bags to the mortuary.
          6
                     And none of the physical evidence wouJd have been
          7                    Officer.aslo followed the mortuary personnel
               disturbed.
          8
               to Parks Mortuary.
          9
                     Q     Did you later remove the clothing from both the victims
         10    or were you present when it was removed?

         11          A     Yes, I was present just prior to the autopsy.                I

         12    had personally removed the clotting from the 2 victims.
         13          Q     Did you gather that ~nd placed it in physical

         14    evidence?
         15          A     Yes, I did.
         16          Q     What other items of evidence or what items, if any,
.   ~


    :    17
    ~
               did you take from the bedroom directly while you were still
    z
    ~
    0
    ~
         18    there at the scene?
    N
    0
    ~
    0
         19          A     Initially I processed signs we were dealing with
    ~
    i
    ~
    z
    z
         20    blood evidence and possibly our fingerprint powder would
    0
    >
    <
    ~


    0    21    interfere with any fu~ure- analysis, I began to process
    u
    Q
    <
    ~
    z
    ~
    ~
         22    for the blood evidence and any other trace material evidence
         23    initially.
         24          But I also kept in mind that there maybe at, latent

                                                                                   72
        SAVORY-LL-000624                                      I


                                                           ~
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        1    impressions in these areas so I made certain that my, I

        2
             reserved these areas where I was collecting physical evidence.
        3
                   Q    Excuse me, did you in fact dust the entire area for
        4
             fingerprints?
        5          A    Yes, I did.   I will get into the exact pieces of
        6    physical evidence and the blood evidence that I collected
        7    that day and then I will get into detail the latent impression.
        8
             that I developed after I processed it.
        9
                   Q    All rigt, please proceed.
       10
                   A    Initially, we had found blood on the, or red substance
       11
             that appeared to be blood on the righ~               ~ing    of the dresser
       12
             which is positioned just as you come in the doorway to the
       13
             bedroom.
       14          We also found specs of that red substance on the closet

       15    door and on the door handle and the exterior of the bedroom

       16    door that opens into the bedroom .
..
::
:!
       17          Q    This would be the same closet as portrayed in bedroom
:E
"~     18    number 1 on the diagram?
.
0

~      19          A    Yes, it is.
z
       20          Q -rs that closet several feet from the location of

       21    the body or how would·you describe that location to the

       22    body of the victim of Connie Cooper?

       23          A    It was directly adjacent to the body of the victim,

       24    Connie Cooper.     Connie Cooper was approximately 6 inches to



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          1     a foot away from the doors of that closet, laying next to

          2
                the bed.
          3           Q    Would the door to that closet be closed \'ren you

          4     saw the--
           5          A    Yes, the doors to that closet--
           6          0    What, if anything, did you do then, officer?
           7          A    All right, after vJe had· successfully collected all
           8    the evidence--
           9                   MR. VIELEY:       Excuse me a minute.           I want to make
         10     an-objection to the use of the term, we.                   I   ttink--
         .11
                               THE COURT:    I    agree with you.
         12                    MR. VIELEY:       I think he testified to what--
         13
                               THE COURT:    He done.       What he means, either, is
         14
                it you or is it--
          15
                      A    I   collected the evidence in this particular room.
          16
                But there were other officers that were at the crime scene wi
<
:         17
::!             me.
.
z
~        18
N
                               THE COURT:    Okay.      would you tell us ifyou did it
~        19
                or if one of the other officers did it as best you qan.
z
...z     20
z                      A   All right.       I had collected all the evidence from
.
0
~
         21
0
u               this particular room.            I had collected the blood from the
..
Q


"'
~
         22     mirror, the right mirror or the red substance, the red
         23     substance from the closet and the red substance from the
         24
                 door handle and the exterior of the bedroom door.



       SAVORY-LL-000626
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          1    MR. GAUBAS:
         2           Q    You indicated you found the substance that appeared
         3     to be blood on the bedroom door,is that correct?
          4          A    Yes, I am.
          5          n    Where was that located, officer?
          6          A    There was part of this red substance that was on
          7    the door handle and swipes of that red substance were also
          8    or in the area surrounding the door handle to that bedroom.
          9          Q.   And where on the closet doors did you find blood
         10
               appeared to be blood?
         11          A    Approximately in the middle of the closet door,
         12    where the 2 joined.
        13
                     O.   And mre were these mirrors located or this mirror
        14     you indicated, this mirror that had red substance on it that
         15
               appeared to,be blood?
         16                                                                       It would be
                     A    The mirror was just above the dresser.
<
;:       17
::!
,.
               on the wall, the wall adjacent to the door entering into
.
~        18
.              the bedroom .
~        19         Q Where on the mirror did you collect this substance?
z
         20          A    It was a spray of red droplets surrounding an

        21     impression that we later had developed.                 I collected as

        22     many of the red droplets as I possibly could from that mirror

        23            It was sprayed in a general area on the mirror.

        24            o   How did you go about collecting these sampJes of



      SAVORY-LL-000627
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         1    what substance appeared to be blood?

         2          A    We have a scalpel which we use.

         3                 MR. VIELEY:     Objection, gain.

         4                 THE C OURT :   We?

         5           A   I am sorry.

         6                 THE COURT:     Sustained.

         7           A   I have a scalpel that I use to scrape off materials

         8    from objects.

         9    MR. GAUBAS:
        10           Q   All samples that you collected, were they from wet

        11    blood or dry blood?
        12           A   Dry blood.
        13           Q   Now, officer, did you recall, do you recall at this
        14     time collecting,yourself, any other items of possible red
        15     substance which might have been blood from that bedroom?
        16           A   We collected other items from that--
""~
        17                 MR. VIELEY:     Same objection.
=
""'
~       18           A   I am sorry, I am d:Ii.ng this from my knowledge .
.
Q

~
Q
        19                 THE COURT:     Just get back to what you d~ npw .
..;
z
        20           A   I collected some items that had a red- substance
        21
               adhering to them.
        22
               MR. GAUBAS:
        23           Q   Did~ remove any physical items from the bedroom 7

        24           A   Yes,   I did.



      SAVORY-LL-000628
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          1           Q    What?
          2           A    A bed spread, a top sheet, 2 pillow cases, a pair
          3     of red pants.
          4           Q    Anything else that you recall at this time?
          5           A    As far as items that had a red substance clinging
          6     to them, no.
          7           Q    Now, officer, when you completed that work in bedroom
          8     number 1, did youproceed to fingerprint it then or check for
           9    possible fingerprints in that bedroom?
         10
                      A    Yes, I did.
         11           Q    Where did you look for possible fingerprints in the

         12     bedroom?
         13
                      A    Officer Bennett then entered the room and assisted
         14     me in processing any surfaces that would yie~ latent
         15
                impressions.
         16
                      Q    Did you process any surface areas in youropinion
.
<

::!.
          17
                would, that would have left a--
:
~        18
                           Yes, we both processed all the walls within a
.
0
                      A
~
0
         19                                                                        He. processec
                reasonable space.        ·Officer Bennett is 5 foot 11.
i
         20     everything as far as within his reach and I processed
         21
                everything within my reach.
         22           And any smooth surfaces that would yield a latent
         23     impression including walls, the surface of the dresser, the
         24
                mirrors, the closet doors, any objects tht were laying out



       SAVORY-LL-000629
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          1    such as the cosmetics, anything that was, that would possibly

          2    yield a latent impression was processed.

          3          Q    Officer, did you gather any latent fingerprints

          4    in that bedroom?

          5          A    We gathered latent impressions and palm prints from

          6    the interior of that bedroom.

          7           0   From where did.you gather these?

          8          A    The latent palm and prints we developed to the right

          9    mirror, the same mirror that we had collected the red

         IO    substance.
         11          We developed a latent palm impression on the closet
         12    door adjacent to where the victim Cooper's body was found
         13    and latent fingerprints off of a picture that had, that was
         14    in several pieces on top of the dresser.
         15           Q   Those are the only locations you recall at this
         Hi     time as you recall gathering fingerprints from?
<
 ...     17           A   From that room?
=
".
~        18                       And did you compare these latent fingerprints
                      Q   Yes .
..
0

~        19     that were found in that bedroom, the known f:i::Jgerprints that
..;
z
         20    you had with victims and other persons who may have lived in

         21     the house'i

         22           A   We, I had compared the latent impressions to the

        23      impressions of the victims, the victim's parents, William

        24      Douglas and Noyal Robison or Douglas, the baby, and other



       SAVORY-LL-000630
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          1    individuals that were given to us to compare those latent

          2    impressions to.

          3          0    Were you able to identify him, the latent impressions

          4
               that were developed in the--
          5          A    The latent impressions developed from the mirror
          6
               was identified as the left palm and the number 10 or left
          7
               little finger on victim Robison's hand.
          8
                     The latent impressions developed on the picture that
          9
               was in several pieces were identified as the baby's.
         10
                     The other latent impressiom that were developed were
         11
               unidentifiable.
         12
                      Q   Is there any particular reason for that?
         13
                      A   The impressions did not have enough characteristics
         14
               which are necessary for an identification to be made.
         15
                      0   And what, is there any particular reason that they
         16
               simply didn't have enough characteristics?
..
<
N
         17
:::!
z
                      A   There are many reasons, there was a smear, it was on
"'
~        18
N
Q
               a bad surface, a surface tht does not yield a good latent
~        19
i.              impression, generally there were other surfaces in the
         20
                bedroom such as the top of the dresser.
         21
                      It ftas covered with a greasy film which we later found
         22
                to be a hair procesang ointment.            Other areas were too
         23
                porous as not to give a good distinctive ridge that was
         24
               .unbroken, necessary for a comparison.

       SAVORY-LL-000631
                                                                                   r-~,~
                                                                                    7~
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        1           Q    Were these the only-fingerprints that you were able

        2     to find in bedroom number l?

        3           A    Yes, they were.

        4           Q    Were you or any of the other officers that were

         5    working on the crime scene on that date at that location

        6     able to find any other fingerprints in any other room that

         7    you thought were particularly relevant.

         8          A    Latent impressions were de\eloped and at the time

         9    we thought were relevant in the bathroom.

        IO          Q    Where were these latent impressions found?

       11           A    They were found just abo~ the toilet on the tile.

       12     we later identified that latent imprffision as being Noyal

       13     E. Robison Douglas'.

       14           Q    Any other latent impressions that were found any

        15    where in the house, officer, that you thought were particularl~

        Hi    relevant to what had happened there that day?
<
~       17          A    Not as far as being particularly relevant there only
=
:
~       18    2 other latent impressions developed .
..
0

~       19          Q    And who were they?
z
..;
z
z
       20           A    They were on drinking glasses that were in the sink.
..
0
>-
<

       21     One was in the sink and one was in a cabinet.
0u

.
"<
z      22                  THE COURT:    I am going to ask the bail:ff to stand
~


       23     on the outside.     We have got problems, too many people in

       24     here now, so you will have to tell people that--Don't let

                                                                                 80
      SAVORY-LL-000632
           1:23-cv-01184-CRL-JEH # 318-25     Filed: 04/22/24   Page 20 of 101




      1     anybody else in.          I just assume you keep everyone out until

      2     everyone has a seat and then you let, so you have got plenty

      3     to go.       They can stay here now.

      4             Go ahead, Mr. Gaubas.

      5                     MR.   GAUBAS:   Thanky,u, Your Honor.

      6             Q     Officer Jatkowski, in your experience as a crime

      7     scene investigator, is there any particular, did you find it

      8     particularly unusual that you were not able to develop                       and

      9     find more latent prints in that house?

     10             A     No, I did not.     Latent impressions are very fragile

     11     and they mu$ be developed on certain surfaces.                       There were

     12     not a great quantity of those type of surfaces, clean surfaces
     10
            where       latent impressions are usually developed.

     14             The areas that we processed, we did yield latent
     15     impressions and we identifiedrrost of them.
     16             Q     Did you find in bedroom number 1 a metal pipe 9
<
~    17
~
                    A     Yes, I did.
z
=
~    18             Q     Did you process that for latent fingerprints?
N
0
0
~
0
     19             A     Yes, I did.
~
z
w    20
z
z
0
                    Q     Did you find any?
~
<
m
0
     21             A     No, I did not.
u
~
~
z    22             Q     Was there found in the kitchen area a black night
~


     23     stick?
     24             A     Yes, there was found.


    SAVORY-LL-000633
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       1           Q    Did you observe that7

       2           A    Yes, I had collected that.

       3           n    And was that processed for latent fingerprints?

       4           A    Yes, it was.

       5           Q    Were any found?

       6           A    No, there were not any latent prints on that object.

       7           Q    In the bathroom area otherthan the particular latents

       8    you have already testified about, did you have occasion to

       9    collect a light switch plate?
      10           A    Yes, I did.
      11           Q    Were any latents developed or were you able to develop
      12    any latent impressions on that light switch plate?
      13           A    No, I was not.
      14           Q    Did you collect any other items of physical evidence
      15    at the fingerprints, these areas in the house attempting to
      16
            find certain fingerprints that you recall at this time,
.
;!
      17
=            Officer Jatkowski?
:
~     18
N
                   A    We did not develop any other latent impressions.
~
0
      19
            Other surfaces were dusted in the same detail as we had
i.
      20     dusted in the one bedroom.         And I must add that we did not
      21     just process that one bedroom for latent impressi..ons as
      22     thoroughly as I described, we continued that process throughou
      23
             the home.
      24
                   Q    Did you process every room in that house?


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           1         A   Yes, we did.

           2         q   For latent fingerprints?

           3         A   Yes.

           4         Q   And none other than those that you testified to at
           5   this point were found, is that correct?
           6         A   There were latent impressions developed on the beer
           7   can in the kitchen and they were identified as the baby's.

           8         Q   Officer Jatkowski, did you coll~ct any other items
           9   of physical evidence from a residence that you recall at
      10       this time?
      11             A   Yes, I had collected the plate from the bathroom
      12       light switch.     It had a red substance clinging to it.
      13
               I also collected a sample of a red substance that was on the
      14       door, the outside door of the front door of the home.
      15             I also collected hairs from the bathroom sink and the
      16
               bathtub, collected several towels from the bathroom, fibers
.
;:
      17
:!             from the rugs.
~
~     18
N
                     Q   Anything else that you recall at this time?
~     19
                     A   At the point of the initial crime scene on January
z

      20
               18th, no, not anymore that I can recall.                There were other
      21
               pieces of evidence that had not been submitted to the State
      22
               Crime Lab, a great quantity of evidence, and I would have
      23
               to refer to my report to get         a complete list of that.
     24
                     Q   And in the bedroom marked bedroom number~, did you


     SAVORY-LL-000635
             1:23-cv-01184-CRL-JEH # 318-25      Filed: 04/22/24   Page 23 of 101




        1    find any murder weapon or any possible murder weapons?
        2               A    No, we made a search through the whole home.            That

        3     is all the officers that were assigned to the crime scene
        4    unit.
        5               I    did not see any weapons within the bedroom or any
        6     of the other house outside of the kitchen knife found in a
        7
             drawer in the kitchen.
        8
                        Q    Where did you find that at?
        9               A    That knife was found in one of the kitchen drawers
       10
              in the kitchen.
       11
                        Q    Did you collect that?
       12
                        A    Ye~ I   collected it.
       13
                        Q    was it submitted to the lab aong with the other
       14
              :ttems?
       15
                        A    Yes, it   \.'JBS.

       16
                        0.    Any other possible murder weapons that was seen
"
~      17
::!           throughout the house?
."
0:
0
       18
N
C,
                        A    No.
~
0
       19               Q    Did that basically conclude tbe gathering of physical
.,
z.
       20     evidence that took place at the residence itself?

       21               A     0n January 18th, yes.

       22               Q     And did you gather other evidence at the funeral

       23     home?
       24               A     Yes.

                                                                                    84
      SAVORY-LL-000636
                                                                                    ?-~7
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         1 .
                     Q    And briefly what evidence did you gather there?
         2           A    Briefly, in general we collected the clothing.
         3     I collected the cloi:hi.ng from the 2 victims.              Certain items

         4     of that clothing were submitted to the Bureau of Identification

          5    Lab in Maywood, Illinois, for a later analysis.
          6          Q    Did you gather anything else other than items of
          7
               clothing?
          8          A    Collected a tube of blood which were drawn from
          9    the body by Dr. Immesote and I also collected hair standards
        10
               from the head and pubic region of both the victims.
        11           Q    Any other items that you recall at this time?
        12
                     A    No.
        13           Q    Officer Jatkowski, what did you do with the items
        14     of physical evidence that were collected by you from the
         15    house and from the bodies?
         16          A    Well, as a general procedure, when evidence is collect-
::""    17
::!            ed we also pJroe the, we always--
,..
~       18                  MR. VIELEY:    Objection as to we.
N
0

~       19                  THE COURT:    He is not asking you--He is asking you
z
.;
z
z
        20     what you did, not as a general procedure, but whatyou did
0
.,~
0
        21     in this case.
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~
        22           A    All right.     I collected the pieces of physical
        23     evidence and placed them in separate containers and sealed
        24
               those containers.


       SAVORY-LL-000637
                1:23-cv-01184-CRL-JEH # 318-25     Filed: 04/22/24    Page 25 of 101




           1    MR. GAUBAS:
           2           Q.   And eventually, what, if anything, did you do with

           3    those items?

           4           A    I   gave each one of those items an exhibit number

           5    and made out a case data sheet and hand carried the first

           6    34 exhibits       that I     had collected to the State Crime Lab in

           7    Maywood, Illinois.

           8           Q    And the other exhibits that you have collected what,

           9    if anything, did you do with them?
          10           A    The other exhibits were retained in the Peoria Police
          11
                Station in a locked evidence vault.
          12           Q    You subsequently have occasion to send some of the
          13
                exhibits that yu collected to the Mayt<Jood Laboratory for
          14
                identification?
          15           A Yes,     I   did.

          16           Q    How did you transport that,              those to the Maywood

..
<
N
          17    Lab?
:::!

.....
:t
0
          18           A    I    transported the items inside a sealed container,
N
0

~         19    a box, to the, which was wrapped twice to the Peoria Post

          20    Office.         And sending them registered mail to the Maywood

          21    Laboratory.

          22            Q   Officer Jatko~ski, I would like to show you some

          23    items for identification here that were previously marked,

          24    beginning initially with ttli.s item previously marked for

                                                                                       86

        SAVORY-LL-000638
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              identification as People's Exhibit Number 2.                  Please tell

         2    us what that is.

         3          A     People's Exhibit Number 2 is the sack that I used

         4    to place Connie Cooper·s bra.

         5           Q    Was there any particular reason you collected that

         6    item of evidence?

         7           A    It was on the victim and one of the wounds to the

         8    victim had penetrated the bra strap that joins the 2 cups.

         9           Q.   was there anything else on the bra itself?

        10           A    Yes, there was a quanti. ty of red substance on the bra.

        11           Q    would you please remove the contents from People's

        12    Number 2.      would you identify that         object previously marked
        13    for identification,.I believe 2 A, People's Exhibit 2 A for

        14     Identification.      Can you identify that object?

        15           A    That is the same bra I       collected from the victim,
        16
               Cooper.
..
 <
 N
        17           Q    Does it appear to be in the qame condition as on the
=
.
z
~       18
N
               date you collected it?
0

~       19           A    Other than the people's ~g and additional writing
z
.;
z
z
        20     on this tag here, yes it does.
0

~
0
        21           Q    All right.    Is people's Number 2 and People's Number
u
Q
 ...
"~      22     2 A, both appear to be in the same physical condition as on
        23     the date that you ·first saw them and collected them, placed
        24     them into evidence?


       SAVORY-LL-000639
              1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 27 of 101




         1             A   People's 2 has been opened at the base and reseaJ ec1.

         2     And I had made this ~ening a couple of days ago when I             was
         3     reviewing the evidence.
         4             But other than the additional writing here on the package
         5     this is in the same condition as when I submitted it.
         6             Q   Any other differences in these 2 exhibits?
         7
                       A   No.
         8             Q   Officer Jatkowski, I hand you what has previously
         9     been marked as People's 3 and ask you if you can identify
        10
               that.
        11
                       A   This is the same container that I had used to
        12
               package victim Cooper's underpants.
        13
                       Q   And does that appear to be in the same condition as
        14
               on the date that you originally placed the items into?
        15
                             MR. VIELEY:   Excuse me.        Please the Court, I want
        16
               to make an objection.        I would rather make it outside the
....    17
::!            presence of the jury.
:
...0    18
..                           THE COURT:    All right, I will excuse the jury for
.
0
0
0
        19
               a few minutes.
        20
               (WHEREUPON, THE JURY WAS TAKEN OUT OF THE COURTROOM)
        21                   THE COURT:    All right, do you want to state the
        22     nature of your objection?         I assume it is in regard to the
        23     clothing and--
        24
                             MR. VIELEY: Yes, sir.


       SAVORY-LL-000640
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          1                 THE COURT:     The blood on the clothing.
          2                  MR. VIELEY:    It appears to me that the State is in

         3     the initial process of beginning to parade various items

          4    of clothing and other pieces of garments that are soaked with

          5    blood and it appears to me that there may be no real value

          6    in doing this other than to excite and impassion the jury.
                I




          7          I    question the probative value of these items and I

          8    would therefore, ask the Court to rule that the State not
          9    pursue any further with the undoing of these items from the
         10    bag because it is obvious that every time an item is pulled
         11    from a container or package the jury can see it.
         12          Even though these items may not be introduced into
         13
               evidence, the damage is done.           We would ask the Court to
        14     rule accordingly.
         15                 THE COURT:     Let me have your Hunter's Book there,
         16    would you please, Mr.       Gaubas.
<
::       17                  MR. GAUB.AS: Surely, Your Honor.
:!

..."
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        18                   THE COURT:    Thanks.     Mr. Gaubas, do you want to
..
0

~       19
~
               respond to that?
z
        20                   MR. GAUBAS:    Yes   Your Honor.        We are now in the
        21     process of admitting items that were physical evidence
        22     collected at the scene that I think are very relevant to this
        23     crime.
        24           The very least these items we are going to admit will


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            1   show the location of the wounds on the body.                  No pictures

            2   have been allowed at this point and I              am not clear as to

            3   whether any lab, as to showing the e{aCt location of the

            4   wounds--

            5          I   think the piece of clothing is at least generous

            6   way to demon~rate to a jury the location of the wounds on
            7   the body of the victim.
            8          Certainly the items of physical evidnce that we attempt,
            9   are attempting t6 introduce at this time will show that.
       10       I   think they are also relevant to show again the amount of
       11
                force used on each of these victims, any amount of bleeding
       12
                that occurred as a rerult of the force used on their bodies.
       13
                       We are not going to waive or parade any items before
       14
                this   jury.     I   have doubts myself as to whether these items
       15
                will actually and actually go into the jury room.                   I   am
       16
                allowing that decision to be made by the Court, but whether
<
~
N
       17
:!              the jury actually handles these items of physical evidence or
"
0:
~      18
N
                not, ~t will be our posit ion that the lab officer of the
0

~      19
,;_
                crime scene unit investigator who appeared at the scene
       20
                and took them and actually physically observed them as he
       21
                took them, placed them into evidence, certainly should have
       22
                the right to ~stify to these items.
       23
                       They are relevant for many purposes. It is our position--
       24
                               THE COURT:    All right, the general rule is that an


      SAVORY-LL-000642
              1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 30 of 101




         1     object which has no v~lue in explaining any fact in issue in

         2     which is used solely to excite, emotion or                 pity,   rather

         3     than aid the jury is not admissible.

         4           However, if it tends to prove some fact in issue even

         5     though accumulative with other evidence, it is admissible

         6     despite the fact it may arouse feelings of horror or

         7     indignation or as gruesome.

         8           It says here for example, a uterus in an abortion case

         9     has been held admissible.

        10                 MR. VIELEY:     Your Honor, if it please the Court,

        11     if the Court ruled this morning that he was not going to
        12     allow any more evidence concerning the position of the stabs
        13
               and the slashings because they had been adequately covered
        14     by A, of the coroner and B, the coroner's physician, and it
        15     seems to me that unless these items are in fact admitted
        16
               and then passed on to the jury so they can see where the
.
~       17
=              exact wounds were, that thing--
..
a:
~       18
...
                           THE COURT:     No point in--
0
::!
0
        19
.;                         MR. VIELEY:     No point .
z
        20                                 It seems items of this kind, Your
                           MR. GAUBAS:
        21
               Honor, are overused in cases as the Court is well aware, at
        22
               least very less demonstrative evidence that can be used
        23
               to show to the jury they are certainly relevant for certain
        24
               purposes.


      SAVORY-LL-000643
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       1           Possibly perhaps one or two pieces of clothing here,

       2     Your Honor, I don't think there is anything that we intend
       3     to show.

       4                  THE COURT:    I was going to ask you that, what do

       5     you have in mind?

       6                 MR. GAUBAS:     We have some items of the victim's
       7     shirt that the victim Robison had on that night, again the
       8     victim Cooper was wearing, the position shows the exact
       9     location of the stab wounds.
      10                 THE COURT:      Yes.

      11                 MR. GAUBAS:     We have, I believe, that is basically
      12     the only items of cloth:rg that we are interested in.
      13    The pillow case from a bed indicating certain items or droplet£
      14     of blood that were found on that pillow case which is not
      15     at all inflammatory which did indicate by blood type, perhaps,
      16     evidence of the fact that the violence and force used and
.
<
N
      17     that droplets of blood from the victim Cooper were found upon
=
a
~
0
~
      18     the bed.
N
0
~
0
      19           we   did--
z
      20                  THE COURT:    All rigt, now what issue do they prove
      21     other than to excite the jury?
      22                  MR. GAUBAS:    It is, I suggest to the Court, at
      23     this point and time that of allegations in the indictment
      24
             is still at issue here.


    SAVORY-LL-000644
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          1                 Mr. Vieley has been admitted or confessed anything.

          2    Until we rest, I think every allegation that we have to

          3    prove in that indictment of those 2 counts--

          4                 THE COURT: What does trm help prove?                   This helps,

          5     tlis proves a stabbing.

          6                 MR. GAUBAS:     Yes, it shows the course of violence.

          7                 THE COURT:    What?

          8                 MR. GAUBAS:     It shows the course of violence used.

          9                 THE COURT:     It shows the force and violence used.
         10                 MR. VIBEY:    That is already in the record though
         11    by the doctor's testimony of the coroner's testimony, and

         12     the pictures.
         13                 THE COURT:     All right, it says here, the fact that

         14     it is cumulative doesn't make any difference.
         15                 MR. VIELEY:     But it has no real probati.ve value
         16     other than to excite emotions, Your Honor.
<
:        17                 THE COURT:     If it didn't go to prove some fact in
=
.
...
...0     18     issue even though cumulative with other evi:ence, it is
N
0
~
0
         19    admissible despite the fact that it may arouse feelings of
         20    horror or indignation.
         21           Now does this seem, does this prove any of the issues
         22     in the case?     It proves a violent attack by, with a knife
         23     or with a sharp object because there are holes in the thing.
         24                 MR. VIELEY:     That has already been proved though.


       SAVORY-LL-000645
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          1                THE COURT:     This is cumulative of that.
          2                MR. VIELEY:      But the Court has ruled this morning
          3     we are not going to have any more of that.
          4                THE COURT:       Not my discretion of the body which

           5    I ruled this morning.
          6                MR. GAUBAS:      Officer Jatkowski is offering nobody.
          7                MR. VIELEY:      You are doing it in another way which

           8    is really more vivid and damaging.                I would rather him sit
           9    here all day and tell us what he saw rather than just to
          10    parade these, open them up and not admit them into evidence,
         11     because once the jury sees them the damage is done.
         12
                            THE COURT:    That is true.            Let me see what you
         13     have got there.
         14     (WHEREUPON, THERE WAS A FURTHER CONFERENCE AMONG THE COURT

          15    AND COUNSEL ABOUT THE CLOTHING OUT OF THE HEARING OF THE
          16    COURT REPORTER )
..
<

:::!
          17                THE COURT:     Again, I will ask you what happened
""'f      18    with the defendant's stipulation .
.
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~        19                 MR. GAUBAS:     We prefer to have the officer--
..
i
z
z
         20                 MR. VIELEY:     We will stipulate there was a violent
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         21
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u
                death.    I have been willing to do that from day one.-
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:"       22                 MR. GAUBAS:     I want to stipulate to th.e admissibilit
z



         23     We will accept that.
         24                 MR. VIELEY:     We couldn't do that.


       SAVORY-LL-000646
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       1                  THE COURT:    What if he stipulates to the
       2    admissibility of the items and we don't send them to the

       3     jury?     What--

       4                  MR. GAUBAS:     As long as the officer, if he stipulates

       5    to the admissibility of them and this Qfficer would remove

       6     them from the packages and I         would ask him to tell what they

       7    are.

       8                  MR. VIELEY:     The trouble is the jury sees this.

       9                  'IlE COURT:   What if he doesn't--
      10                  MR. GAUBAS:     If they are not going--
      11                  THE COURT:     He looks in the bag and he says this
      12     is, he describes it.        Would that be sufficient to--
      13
                          MR. GAUBAS:     I don't think so, Your Honor.
      14                  THE COURT:     I have difficulty seeing what elements
      15     these items prove in the case if they are willing to
      16     agree that the victims died because of a violent attack.
<
:     17                  MR. GAUBAS: · I think it certainly shows the nature
~
z
~

~     18     of the offense, YourHonor, and that is the part of the
N
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~
0
      19     mental intent we must show in any indictment, any count.
~
z
      20             I~ also the degree of mental intent that we have
      21     alleged in the indictment thathe did the acts knowingly,
      22     that they created a strong probability of death or great
      23     bodily harm.
      24                  THE COURT:     Anyone who would have cut the bodies,


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           1    and there was that much blood--
           2                MR. VIELEY: That is what he is showing, a ld of

           3     gore, a ton of gore.
           4                 THE COURT:    A lot of blood to the jury.
           5                 MR. GAUBAS:     It is nature, usually--
           6                THE COURT:     I think they are too.

           7                MR. GAUBAS:      They are not pleasant to look at, I

           8    agree.     But we brought in nothing that is clearly bloody
           9     as some of the items we couid have brought in, but what you
          10    have before is with the exception of 2 other items, I
          11    believe are all tre clothing and we intend to use.
          12                 THE COURT:    A pillow case?
          13                 MR. GAUBAS:     PiJl.ow case and there is a nair of
          14     blue pants and if need of them--To my knowladge those
          15     are the only items of clothing that we have knowledge
          16
                 that--
"'
:!        17
=                            THE COURT:    All obtained at the scene?
..."
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          18
                             MR. GAUBAS:     That is correct, or one particular
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          19
                 item I think was obtained later, but by the same officer.
z
..;
z         20
                             MR. VIELEY:     But what do they prove?
.....
z
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,c


0         21
u                We already mow there was a violent death, that has been
..""
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z         22
                 proved a hundred times.         The death came from stabbings and
          23
                 that has been proved a hundred times.
          24
                       And we stipulate that all fui.s, all this blood can do


        SAVORY-LL-000648
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       1     is just--
       2                  THE COURT:    Problem is that maybe it has been
       3     proved to you that there was a violent death, maybe it has
       4     been proved to me that there has been a violent death,
       5     we don't know what has been proved to the jury.
       6           They ha\e got a burden beyond a reasonable doubt which
       7     is a heavy burden.
       8                  MR. VIELEY:    They have seen the pictures that has

       9     been passed thus far.
      10                  THE COURT: Yes.
      11                  MR. VIELEY:    Which we admitted, I think, the first
      12     day of evidence.
      13
                          THE COURT:    Which is today.
      14                  MR. GAUBAS:    If I may make 2 other points, Your
      15     Honor.
      16                  THE COURT:    Go ahead.
<
:     17                  MR. GAUBAS:    We would represent too, in concluding
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~     18     in this testimony and case in chief will be testimony from
N
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~
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      19     Officer Brown that the defendant has confessed to the crimes
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             in question.
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      21           we feel that this evidence that is before the Court
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z     22     now will very frankly corroborate the confessions                  of the
~


      23     defendant.
      24                  THE COURT:    Fine, it is clear to me that if these



    SAVORY-LL-000649
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         1     exhibits show who did it or tend to sh~ who did it instead

          2    of what happened, they are admissible.

         3                 MR. GAUBAS:     Representation I am making to the

          4
               Court is that those, if not all of those items of clothing

          5    that are right before the Court rightnow will corroborate

          6    statements of the defendant.

          7                THE COURT:     They do corroborate, I can admit them

          8
               after the confession.       I don't know what is contained in

          9    the confession.

         10           I think what we will do at this time is just to have

         11    him identify the brown bags, open them up, peer into them--He

         12    doesn't have to take the items out and describe what they

        13     are.

        14            Now I feel also that if they are admissible in evidence

         15    they should go into the jury room.                Now let's wait and see

         16    when we have heard the cohfession and see if there isn·t a
<
 ..      17    stronger evidence for adrnLting them into evidence other
:!
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         18    than that   they are evidence of what happened, because
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:;       19    Mr. Vieley states, we have overwhelming evidence of what

        20     happened.

        21                 MR. GAUBAS:     I also have 3 tubes of blood, Your

        22     Honor, to have identified simply for the purpose of later on

        23     having Officer Jatkowski for the purpose of having him

        24     testify to the groupings he was able to make.


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          1                 THE COURT:     That goes to the question--No, that

          2    goes to the question of who did it.

          3                  MR. GAUBAS:    These are tubes of actual blood.

          4    Surely they are not going to be any more or less provoking

          5    or choking to the jury tha•n a piece of clothing you are

          6    rulirg     on now.

          7                  THE COURT:    Actual--

          8                  MR. GAUBAS:    The probative.

          9                  THE COURT:    Actual blood taken from vro?
         10                  MR. GAUBN3:    From the victims and the defendant.

         11                  THE COURT:    All right.       Now why do you have to
         12     have those in the Courtroom?
         13                  MR. GAUBAS: Well, we feel that it is relevant to

         14     show that on certain items of clothing certain types of
         15     blood were found.
         16                  THE COURT:    Right, you can do that without the
..
:        17     vials of blood in the Courtroom, can't you9
:!
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         18                  MR. GAUBAS:    We have to have the lab expert
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~        19
,               identify the fact that he took vials of blood Officer Jatkowsk
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z
         20     had taken from the people in question, and sampled them
,.0
..
C

         21
0
u               and--
C


..."
C
z        22                  MR. VIELEY:    We would stipulate 1rough that we
         23
                will stipulate to the chain, we will do that.
         24
                             MR. GAUBAS: I can prepare a stipulation on that.

                                                                                     99
       SAVORY-LL-000651
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       1                  THE COURT:    Sure you want to stipulate.
        2                 MR. GAUBAS:    I still think we will spend more time
       3     doing that and presenting physical evidence.
       4                  THE COURT:    But when you start parading the blood
        5
             into the Courtroom in vials I don't think you need to do
        6
             that.     To have the officer's testimony that he compared the
        7
             blood or I don't know w~t he did, but he can testify if it
        8
            becomes material to have the actual blood in the Courtroom,
        9
             I will allow you to do it.
       10
                     You are entitled to get the blood comparisons into
       11
             evidence, of cpurse,_and there won't be any problem with
       12
             that.     But at this time I would instruct you, don't bring
      13
             the blood in the Courtroom unless it is the only way to get
      14
             it into ev:irence and if you can, get his conclusions as to
       15
             what he did, I don 1 t think you need the vials of blood in the
       16
<
             Courtroom.
:      17
~
                  All right, let 1 s go ahead and you can just have him
s
~
0
~      18    identify these items and I will reserve my ruling on this
N
0

~      19    until I have heard the confession and see whether they are,

      20     anything is material after he reads the confession.

      21             All right, let me as1c you how much additional question

      22     do you have of this witness?

      23                  MR. GAUBAS:    I think the number of additional

      24     questions I have for Officer Jatkowski is just about, there


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          1
               won't be too much more.          I would say at the most 15 to 20
          2
               minutes.
          3                 THE COURT:    All right, let's go ahead and finish
          4    up with the direct examination of this witness before we--
          5           Now what about the stipulation as to the chain of
          6
                evidence on the blood?
          7
                            MR. GAUBAS:    I am willing to accept that now.
          8
                            MR. VIELEY:    Yes, we will make that agreement.
          9
                            THE COURT:    All right, state for the record,
         10    Mr. Vieley, what you are going to stipulate.
         11                 MR. VIELEY:    We will stipulate that there is in
         12    fact a chain of evidence for the blood samples taken and
         13     that the State need not prove any thorough chain as normally
         14     would be required in a case of this nature and magnitude.
         15
                            THE COURT:    What samples are you talking abot:t,
         16
                taken from who? ·
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;:       17
:!                          MR. VIELEY:    The defendant and the 2 deceased
""'
~        18
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                children.
~        19
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z                           THE COURT:    All right.
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         20
,..0                        MR. VIELEY:    We ought to ffi9ke that stipulation
..
,c

         21
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u              for Y. T. Savory, too.          That was done I believe.
...
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z        22
                            THE COURT:    The defendant's father?
         23
                            MR. VIELEY:    Right.
         24
                            MR. GAUBAS:    I didn't intend to present testimony

                                                                                    101
       SAVORY-LL-000653
                                                                               ?.--L,li?
                1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 41 of 101




           1    concerning that at the moment, but I think it may become

           2    relevant in rebuttal, but I         don't see it.
           3                  THE COURT:    All right, the chain of evidence has

           4    been stipulated to in regard to the bJrod samples.

           5                  MR. GAUBAS:    I will accept trat stipulation, Your

           6    Honor.
           7                  THE COURT:    All right.

            8                 MR. GAUBAS:    Now presume the officer will be allowed

            9   then to simply testify that he did collect samples from each
           10   of the victims and- the defendant and took them to the Maywood
          11    Laboratory for testing?
          12                  MR. VIELEY:    Absolutely.
          13                  MR. GAUBAS:    From there I will have Officer

          14    Jatkowski--
           15                 THE COURT:    Which were of, and this is what they
           16
                should--
<
;:         17                 MR. GAUBAS:    The result he achieved from testing
....
::!

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          18
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:!0
                them •
          19                  THE COURT:    Keep it short.         We won't argue over
,
z
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z
z
          20    the chain.      All rjglt, now, let's bring back in the jury.
e
;
          21    (WHEREUP·~ T, THE JURY WAS BROUGHT BACK INTO THE COURTROOM)
8
Q

"'z"'
.....     22                  THE COURT:     All right.
          23
                MR. GAUBAS:
          24             Q   Officer, without removing from the bag these items
                                                                                     102
        SAVORY-LL-000654                                                            ,;e,t,/~
           1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 42 of 101




      1
           would you please bok~ People·s 3 and the contents and tell
      2    us what you see there.
      3
                          THE COURT:    I will examine that also.              The Court's
      4    ruling for the benefit of the j.lr'y, so they know wtat is
      5    going on, I am just going to allow this witness to identify
      6    the items in the brown bags.
      7          I will rule after I have heard all of the State's
      8   evidence on whether they should be admitted into evidence and
      9
           go before the jury.         That is why I am reserving my ruling
     10
           on that question at this tire so that is why he isn't taking
     11
          them out of the bag at this time.
     12
          MR. GAUBAS:
     13
                 Q     Can you identify the contents of People's 3, officer?
     14         A      It is marked People's Exhibit 3 A.            I mean--
     15         Q      What is it?
     16
                A      These are the panties, the underpants of the victim
<
:    17   Cooper.
=
s
~
0
~    18
                Q      You collected them?
~
0
~
     19         A      Yes, I did.
     20
                Q      Do they appear to be in the same condition today as
     21   they did on the date you collected them?
     22
                A      There is additional writing and some areas that m.,e
     23
          been removed, but other than that, yes.
     24
                Q      Any other differences?

    SAVORY-LL-000655
                                                                                   103
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       1          A    No.   Now on the People's Exhibit 3, as I indicated
       2    on prior packages, the same differences apply, that additional
       3    writing, another seal on here and I had opened this myself.

       4           Q   Officer, I hand you what has b:en previously marked

       5    for identification as People's 4 and its contents.                    Would you
       6    please look at it and tell us if you can, identify that.
       7           A   This is People's Exhibit 4, is the container that

       8    I   placed the victim, Cooper's night gown inside.                  Again,
       9    noting the same differences that I noted to the prior
      10    package.
      11           Q   The night gown is marked 4 A?
      l2           A   The night gown iefmarked People's            4 A.
      13
                   Q   Do you notice any differences from it from the date
      14     you collected it and placed it in evidence?
      15
                   A   Yes, there are additional areas that have been rut
      16
             out of the night gown and of People's Exhibit Number 4 A
C
:     17     has been affixed to it, there is additional writing.
=
z
s
~     18           Q   Any other d;rrerences?
N
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~
0
      19           A   No.
~

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w     20
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                   Q   Officer, I also hand you what has been previously
~
C
m
0     21     marked for identification as People's Number 5, ask you if
u
0
C
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z
:     22     you can identify it and the contents.
      23           A   People's Exhibit Number 5 is the container which I
      24
             had placed victim Robison's shirt inside.                 Again, noting
                                                                                    104
    SAVORY-LL-000656
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           1    the same differences as in the prior containers, and the

           2    People 1 s Exhibit Number, the contents as marked People's
           3    Exhibit 5 A and there are additional holes in this particular
           4    exhibit and have had tape affixed to it which I had not
           5    affixed to it.

           6
                      Q    Any other differences?
           7
                      A    No.
           8
                      Q    And Officer, People's Exhibit Number ,13 previously
           9
                marked for identification, would you examine it and I ask you
          10
                if you can identify it and the contents.
          11
                      A    Okay.   Thirteen is the container which I had plroed
          12
                the pillow case from the bed inside.              Again, noting the same
          13
                differences that I had explained in the prior containers.
          14
                      And there is 13    A    which is the contents of this package
          15
                and the only differnce is that there are again areas that
          16
 <
                have been removed from the items, additional writing on a
 :        17
:::!

....
 z              piece of tape and the People's Exhibits Number on it.
0
          18
N
0
0
                      q    Any other differences?
:;
          19
.,z                   A    No •
.;
z
z
         20
..
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>-
C
                      Q    Officer, the only other item of clotting I believe
0
         21
u
0
C
                I wanted you to look at, People's, previously marked
."...
z        22
                identification number        54, and its contents.         Please examine
         23
                that item careftilly and tell us if you can, identify it and
         24
                its contents.

        SAVORY-LL-000657
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        1          A     People's Exhibit Number 54 is a container which I

        2    had placed a pair of blue pants, colected from the bedroom

        3    of the upstairs bedroom of 1011 West Hurlburt.

        4          Q     Officer, on what date did you collect trat piece of

        5    evidence7
        6          A     On January 26th of this year.

        7          Q     That was not collected from the scene at 3033 West

        8    Garden?
        9          A     No, it was not.
       10          Q     Is there any specific reason you were looking at
       11
             the 1011 west Hurlburt?
       12          A     This is the residence of a Y. T. Savory, the de:ta1dant 1 s
       13
             father.
       14          Q     Those particular pants were collected by you on that
       15
             date, is that correct?
       16
                   A     Yes, they were.
C

=      17
                   Q     And are they in the same condition except for the
.
::!

...
0
       18
             evidence tags as on the date that you collected them?
N
0
~
0      19·
...                A     They are.   Again, there is additional writing on
..
z

z
z
       20    this particular piece of evidence and an area has been
,_0
..
C

       21    removed, a small area.        But again, this or 54 A is a,
0
u
Cl


...          substantially same condition as when I collected it.
C

"z     22

       23           Q    Why did you take that piece of evidence from that

       24    residence, officer?
                                                                                 106
      SAVORY-LL-000658
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            1           A   I was told--
            2                 MR. VIELEY:     Objection, hearsay.

            3                 THE COURT:     SU'sta:ined.

            4     MR. GAUBAS:

            5           Q   Not telling us what you were told, why did you take

            6     that piece of evidence?

            7           A   I searched the residence for any cJothing that may

            8     have any trace evidence adhering to it, trace evidence which
            9     may have been taken from the scene at 3033 West Garden or
           10     from the victims.
           11           Q   Was there any particular reason you decided to
           12     collect that pair of pants?
           13
                        A   Yes, on this particular pair of pants there was a
           14     red globular type stain.         It wasn't penetrated into the
           15     fabric, but it was also adhering the fabric like as much
           16
                  as it wasn't completely soaked into it •
..
:          17
=                       I collected it for that purpose.              Ifelt tha; this may
...
...0       18
..                have, that red sul:Btance may have been blood so I submitted
0
;:e
0
           19
                  it to the Maywood Lab.
z
,.;
z          20
z
,.                      Q   What size pair of pants do you have, officer?
..
C
 0


           21
0
u                       A    ~ere is no size on this pair of pants.
"
.."'."
C

           22
                        Q   Could you describe them by having looked at them
           23
                  as to whether they would be for a large man, small man,
           24     medium size person?

                                                                                        107
         SAVORY-LL-000659
                                                                                     'R-&3)
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         1           A    They would be for a small to medium sized person,
         2     describing myself as in approximately that same area as
         3     being medium, but· on the small end of it, I would say that

          4    these particular pants would be small for me.
          5          Q    All right.    Thank you.       Any other differences in
          6    this item that you recall at this time?
          7          A    No.
          8          Q    And on the date you collected it.
          9          A    Exhibit 54 which is the container, as I stated is
         10    tne same differences as the prior containers.
         11          Q    Okay.   Officer Jatkowski, I would like to show you
         12    People's Exhibit 15 which has been previously, excuse me,
        13     yes, it is 15, previously marked for identification and
        14     ask you if you can identify those.

         15           A   People's Exhibit Number 15 is the container which I
         16     placed the light switch plate from the bathroom at 3033
...
,c

         17    West Garden.       I had collected it on the intial day that I
=
.."
a:
0
         18    was searching the crime scene, January 18th .
..
'Q
 Q

"
Q
         19           Q   Please remove the contents of 15 and see if you
z'
.;
z       20      can identify that.
..
,.z
 0


        21
0                     A   What has been marked as People's Exhibit Number 15 A
."..
..
,c
z       22      is that same light switch plate .
        23            Q   Does that plate appear to be in the same condition
        24      as on the dateas you collected it?
                                                                                   108
       SAVORY-LL-000660
                                                                               ~~{
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          1           A    There is an additional wri~ing on theplate and we

          2    had affixed the People's Exhibit Number to it, but other

          3    than those differences, yes, it is.

          4           Q    Do you notice any other differences at all?
          5           A    No.
          6           Q    Would you please replace the item in the package.
          7    Thank you.
          8           Officer Jatkowski, I show you what has been previously
          9    marked as People's Exhibit Number 37 and ask if you can
         10     identify that.
         11           A    People's Exhibit Number 37 is the container which I
         12    had placed the hairs that I had taken from the bath tub in
         13
                the bathroomat 3033 West Garden.
         14
                      Q    Where did you find these hairs in the bath tub,
         15     officer?
         16           A    They were in the base of the bath tub.                  You have
<
;:       17
:!              your side and then the base of the bath tub and I found it
..".
0
         18     at the base near the drain.
N
0
0

"
0
         19           Q    Why did you collect those hairs from that location?
z
.
z        20           A    They looked particularly unusual to me, that these
,.z
..
0
C

         21     particular hairs were sitting in the area where they were
.,...
0

..
C
z        22     inside the bath tub.
:
         23           If they had been, you know, fallen from your hair,
         24     would have been more concentrated towards the ring or in


        SAVORY-LL-000661
             1:23-cv-01184-CRL-JEH # 318-25     Filed: 04/22/24   Page 49 of 101




        1     the drain.          These hairs were not concentrated in that

         2    manner.        They were spread out into the base of the bath tub.
        3           Q       And placed the contents of the ha:1m you found in

        4     the bath tub in that particular item, is that correct?

         5          A       Yes, I did.

         6          Q       They are   mt there now, is that right?

         7          A       No, they are not.      In addition to that--

         8          Q       Is there any other difference?

         9          A       There is writing, the seals have been broken on both

        10    the top and the bottom of the package.

       11           Q       Do you notice any other differences?

       12           A       No.
       13           Q       And I show you what has been previously marked for

       14     identification as People's Exhibit Number 48 and ask youif
        15    you can identify that.
        16          A       This is the container which I had placed the hairs
<
~
N
        17    from the sink in the bathroom at 3033 West Garden.
=
:E
0:
~      18           Q       Where did you find those hairs?
N
0

~      19           A       I found them in the base of the sink, sink qasin.
i
       20     They were not near the drain, but rather spread out throughou
       21     the sink and on the upper portion of the lip.
       22           Q       Any particular reason for collecting those items of
       23     hairs?
       24               A   Again, i t appeared to be unusual to me that the hairs



     SAVORY-LL-000662
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            1   would be in that area, so I had collected them.
            2         Q   Any other difference in that package as you observe

        3       it today as the day you originally marked it?

            4         A   Yes, the seals have been broken on it. There is

            5   additional writing and I had affixed an exhibit number to

            6   this item.       It has been scratched out and a different

            7   exhibit number has been placed on here.

            8         Q   Any other d~fferences?

            9         A   Other than the hairs not being inside the package,
       10       any more, no.
       11             Q   Officer~ I would also like to show you what has
       12       been previously mark.ed as People I s Exhibit Number 48 through
       13       53 and ask you if you can identify them just briefly.
       14             A   Okay, 49 is the head hair standard which I removed
       15       from or Mr. Savory, the defendant had removed from his head
       16       and placed in this container on January 26th.
<
;:     17             This was done at the Peoria Police Station.
...
::!

.
0
       18
                      Q   This was done pursuant to Court order?
.
0
...
0
0
       19             A   Yes.
       20             Q   Samples were being collected from the defendant.
       21             A   These particular hair standards were not.
       22             Q   Were they given voluntarily?
       23             A   They were given voluntarily.             Additional writing
       24       again and the seal has been broken, some of the contents

                                                                                    111

      SAVORY-LL-000663
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      1    of the standards are still in here.
      2          People's Exhibit 49 is the head hair, front, from
      3    this area on the head.
      4          People's Exhibit 50 is the head hair, top of this area
      5    of the head.
      6
                 People's Exhibit Number 51 is the head hair, back, which
      7
           is from the nape of the neck.
      8          People's Exhibit Number 52 is the head hair from the
      9    right side, right over here on the temporal.
     10
                 And People's Exhibit 53 is the head hair, left, which
     11
           is from this area.       These hairs were removed directly from
     12
           the defendant's head and placed by the defendant into these
     13
           sacks.      These sacks were then sealed.
     14
                 Q     Do you notice any differences in those items as you
     15
           have just identified them now as when you first collected
     16
           the items of evidence?
<
~
N
     17
=
z
                 A     There is additional writing, seals have been broken
«
0
~    18
N
0
           and People's Exhibit Numbers are affixed to each one of
~
0
     19
i
           these exhibits.
     20
                 Q     Any other differences?
     21
                 A     ~1   some of these exhibiIB there has been hair removed
     22
           because fui.s one especially, head hair, back, there is nothing
     23
           that I can see in here, so there has been hair that has been
     24
           rem:oved from this package.


    SAVORY-LL-000664
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           1           Q    Any other differences?
           2           A    No.
           3           Q    Officer Jatkowski, would you please look at People's
           4     Exhibits 17, 18, 19 and 20 and ask you if you can identify
           5     them and tell the Court and jury what they are.
           6           A    People's Exhibit Number 17 is the container which I
           7     had placed blood flakes which had been scratched off the
           8     bedroom closet door.
           9           Q    That was taken from which bedroom?
          10
                       A    The bedroom number 1, the closet door nearest to
          11
                 the door into the bedroom that enters into the bedroom.
          12           I placed these in this container on the 18th of January.
          13
                       Q    Any differences from that item as it appears now in
          14     Court from the date that you collected it?
          15           A    YEB, there is additional writing, the seal has ten
          16
                 broken and resealed and People's Exhibit Number has been
...."'    17
::!
,.               affixed to it.
.
0:
0
          18
                       Q    Please proceed to the next number .
 .."'
~
"'        19
..,                    A    Exhibit 18, People's Exhibit 18 is the container
z
..
z         20
                 which I had placed the blood flakes from the mirror in here.
...•
z
0


          21
0
u                I had scraped it with a scalpel from the mirror into this
.
a

...
z         22
                 container and then sealed it •
          23
                       The same differences appear on ttt.s People's Exhibit as
          24
                 in the prior exhibit.


         SAVORY-LL-000665
               1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 53 of 101




          1            Q   Any other differences?
          2            A   No.
         3             Q   Please proceed to the next exhibit number.
          4            A   Exhibit Number 19 is the container which I had
         5     placed scrapings of red substance from the bedroom door knob.
         6     Again, the same differences are apparent on this package
         7     as in the prior 2 packages and this was also collected on
         8     the 18th of January.
         9             Q   Please proceed to the next exribit number.
     10                A   Exhibit Number 20 is the container which I had placed
     11
               the blood flakes which I had scraped from the frort door knob
     12
               of the residence at 3033 West Garden.
     13
                       Q   Had you found blood on the front door to the residence,
     14        officer?
     15                A   I had found a substance that appeared to be blood on

     16       , the door, yes.
.
C
N
     17                Q   And from where did you collect it on that front
=
s
~

~    18        door?
N
0

~    19                A   I collected this scraping from the front door knob.
z
w
z    20        And again, this container is in the ~me conditbn as the
z
0
~
C
m
0    21        prior containers and they, it has been kept in the manner
u
C
C
~
z
w
~
     22        that I previously stated.

    23                 Q   Were those the only locations as just described
    24         here by Paple's Exhibit 17 through 20 that you took, made

                                                                                   114
    SAVORY-LL-000666
                1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 54 of 101




           1    scrapings from locations in the residence where it appeared

           2    that a substance that looked lileblood was found.                   There

           3    was only one other area that I had taken the scrapings and

           4    that was on the telephone.

           5          Q     Okay.   Officer, I would show you what has been marked,

           6    previously marked for identification as People's Exhihit

           7    Number 44 and ask you to identify it and the contents, if

           8    you would.
           9          A     People's Exhibit 44 is the container which I had

          10    placed a NO 'RM ARK, Normark Pocket Knife, folding pocket
          11    knife that I had received from George Pinkney, Officer of
          12    Peoria Police Station.
          13           Q What date you had, had you received this particular
          14    item from George Pinkney?
          15           A    On January 25th of this year.
          16
                       Q    Would you please remove the contents and see if you
<
;:        17
,..::!           can identify it.
...
0
          18           A    People's Exhibit Number 44 A is the same knife wnch
N
0
0
"
0
          19
~
                 I had received from Officer Pinkney.              On the side of the
z
..        20     knife is marked NORM ARK .
...
0



  J       21
                       Q    What does that marking delineate, if anything?
....
u


.."       22           A    This marking is the brand name of the knife .
          23
                       Q    And on what date did you get that item from George
          24
                 Pinkney?     I got it on the 25th of this year, January.


         SAVORY-LL-000667
                  1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 55 of 101




          1             Q   Is this knife in substantially the same condition

          2       as on the date when you received it from Officer Pinkney?

          3             A   The knife is much cleaner than when I had received

          4       it from Officer Pinkney.         There is additional writing on the

          5   •   knife and the People's Exhibit Number has been attached to

          6       it.

          7             Q   Any other differences?

          8             A   No.

          9             Q   Officer, I would like to show you what has been

         10       marked for identification as People's Exhibit Number 43 and

         11       ask if you can identify that.

         12             A   Yes.   This is a strong and glossy protective acrylic,

         13       nail hardner.      It is a bottle of thatS3me substance which

         14       was collected from 3033 West Garden, in the livingroom at

         15       the foot of a telephone stand that was in the shape of an
         16       elephant.
 <
:        17
=                       I collected this on the 27th of January of this year.
a
.."'
0
         18             Q   You collected it from the residence at 3033 West
N
0
~
0
         19
                  Garden?
z
,.;
z        20             A   Yes, I had.
....
z
0
C



0
         21             Q   Does that item ~pear to be in the same condition as
u

.
"z
C

         22
::'.              when ~u collected it?
        23              A   Yes, it is, other than the People's Exhihit Number
        24
                  being affixed to it.


       SAVORY-LL-000668
              1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 56 of 101




         1          Q     Any other differences?

         2          A     No.

         3                  MR. GAUBAS:   May I have just a minute, Your Honor.

         4                  THE COURT: Yes.

         5    MR. GAUBAS:
         6          Q     Officer, I would also ask you to look at People's

         7    Exhibit Number 39 for identification and ask you if you

         8    can identify that.
         9          A     Yes, this is the photograph of the--I am going to
        10    give directions on this particular diagram that will not
        11    be exact directions as far as the north, south, east and
        12    west of the house as it is positioned in the City, but I
        13
              am going to indicate as the north as being the top of the
        14    diagram and south as· being where 3033 West Garden is and
        15
              east as being where the end of the house, where People's
        16
              Group 1 is and west is where the garage is .
.
:       17
=
,...                In itis photograph depicts the corner of the bedroom,
..
0
        18
              the southeast corner of the bedroom as you see it if you are
N
0
:::
0
        19
"1
              using my directions.        This also depicts the corner of the
..
z

z       20
z
,..0          dresser that was on the south ~11 of bedroom number 1.
..
C

        21
0
u                    Any uarticular reason you took a picture of that location·
a

.."
C
z       22
                     A    Yes, depicted in the photograph on the south wall
        23
              is flick of a red substance which I believed to be blood.·
        24
                     Q    Does this picture truly and accurately portray the


       SAVORY-LL-000669
              1:23-cv-01184-CRL-JEH # 318-25     Filed: 04/22/24   Page 57 of 101




         1     scene as you recall it on that date?
         2             A   Yes, it does.
         3             Q   Would you look at People's 41 briefly and explain to
         4    us what that is.        Excuse me, before you look at this one
         5     I believe there is another one, and would you look at People's
         6     Exhibit Number 38 first and tell us what that picture is.
         7             A    All right, this photograph depicts the right dresser
         8     mirror as you are facing the dresser, would be on the right
          9    side.       There are twin mirrors and that dresser was positioned
         10    again on the south wall of the bedroom number 1.
        11
                       It depicts the area where I had an adult latent palm
        12
               impression and finger impression and a latent nose and 2
        13
               lip impressions on the mirror.
        14
                       Q    You indicated that you were able to identify that
         15
               latent impression or the palm print impression.
         16
                       A    I was able to identify the latent palm and the
<
:        17
::!            latent fingerprint.
....
z
0
        18
..
0
~
                       Q    Whose impressions were those?
0
        19
                       A    Those were the victim's, Robison.
        20
                       Q    James Robison?
        21
                       A    James Robison, Jr.
        22
                       Q    Does that picture accurately and truly portray the
        23
               mirror as you recall it on that date?
        24
                       A    Yes, it does.    It also depicts the red substance


       SAVORY-LL-000670
              1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 58 of 101




         1     that surrounds the area where the palm impression was.
         2             Q    Officer, I would ask you to look at People's Exhibit
         3     Number 9 and tell us if you can, identify that.
         4             A    This is a photograph of the front door and it
          5    depcits the front door knob which I had collected the blood
         6     flakes and placed in the prior exhibit.
         7             Q    Did you get the flakes from above or below the front
          8    door knob?
          9            A    Above.
         10            Q    Does that picture trdy.and accurately depict the
        11
               scene as you recall it on the date in question?
        12             A    Yes, it does.
        13
                       Q    Any differences?
        14             A    Officer &anding here shining a spotlight on the
        15     door.       He is the only thing that is additional in the
        16
               photograph.
...
 <
        17
=                      Q    And People's Exhibit Number 28 for identification.
..
z
~       18
.              would you please look at that and tell us, if you can identify
0

~       19
               that.
i.
,.;
z       20
z
,..
0
                       A    This depicts the doorway leading into the bedroom,
C
"'      21
0              the east wall of the bedroom and also the west wall or the
.
u



..."
C
z       22
               south wall and the dresser that is on the south wall .
        23
                       It depicts both of the mirrors upon the dresser and
        24
               the contents of the top of the dresser.


       SAVORY-LL-000671
              1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 59 of 101




         1           Q     Is there any particular reason you took the pictures,
         2     officer?
         3           A     Yes, I wanted to get a general view of what an
         4     individual would be seeing if he was standing inside the hall-

         5    way looking in to tqe bedroom.
         6           Q     And can you tell from that picture depicting that
         7     door of the bedroom, the area from which you collected the
         8     items that you thought was a substance that appeared to be
         9     blood?
        10           A     Yes, I do.   It is the area that is surrounding the
        11     door knob and the door knob of the door.
        12           Q     Does tht picture truly and accurately portray the
        13
               scene as you recall it on the date in question?
        14
                     A     Yes, it does.
        15
                     Q     Officer, I would like you to look at what has
        16
               been previously marked for identification as People's
...
<
N
        17
=
.              Exhibit Number 33 for identification and ask you if you can
...
0
        18
N
0
               identify that.
~
0
        19
~
                     A     That is a photograph tht I had taken of the ceiling
z
,.;:
z       20
               of the bedroom number 1 which I had seen a red, a spot of
...
z
0
,c

        21
0
u
.,
               a red substance on the ceiling of the bedroom, right above
...z
,c


.
...     22
               the bed .
        23
                     The angle of this photograph was taken from the south
        24
               going to the north and it also depicts the top of the

       SAVORY-LL-000672
              1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 60 of 101




         1     curtain rod of the north window.

         2           Q    Does that picture truly and accurately portray that

         3     area as you recall it from taking a picture?

         4           A    Yes, it does.

         5           Q    Officer, People's Exhibit 27 previously marked for

         6     identification, can you identify that.

         7           A    This is a photograph, a close up photograph of the

         8     bedroom door and the area which I had scraped the red

         9     substance from that door.
        10           0    Is that a close up shot of that area?
        11           A    Yes.
        12           Q    Is there any difference from the date you collected
        13     the evidence and took the picture?
        14           A    No, tte:'e is not.
        15           q    Does that picture truly and accurately portray the
        16
               scene as it attempted?
 ..
...<
        17           A    Yes, it does.    This door was in fact--In fact, it
=
."
a:
0
        18
               is, you can see in prior photographs that this particular
..
0
~
0
        19
               plart was right up against this door.
        20
                            MR. GAUBAS:    Your Honor, may the record indicate
        21
               I am tendering these exhibits to defense courrel.
        22
                            THE COURT:    It will so indicate.
        23
               MR. GAUBAS:
        24
                      Q   Officer Jatkowski, did you perform any other tests


       SAVORY-LL-000673                                                ~~121
               1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 61 of 101




           1    at the residence other than what you have already indicated
           2    in your teetimony?
           3          A    Yes, I did.
           4          Q    What other tests, if any?
           5          A    One additional test was performed.            I performed a
           6    Luminol preliminary blood test on certain areas and walls
           7    inside the residence.
           8          0,   What training have you had to perform such a test?
           9          A    I was sent to the manufacturer of that product
          10    in Morristown, New York, Serly Laboratories and I was given
         11     detailed instruction during a week long school on how to
         12     administer the test, mix the chemicals and determine a
         13     positive reaction from the chemical reaction with blood.
         14           Q    What is the purpose of that test, officer?
         15           A    It is a, used as an investigative aid as a preliminary
         16
                indication as to the surfaces that contain blood or areas
..."'
N
         17
                that had ten sprayed with a substance that contained blood.
.=
."'
0
         18
                      Q    How was it performed?
N
0
...
0
0
         19
                      A    Initially you must mix 2 reagents which are inactive
z
         20     in their present form, a powder and a liquid formula.
         21     They ar~ mixed thoroughly until both the powder is completely
         22     dissolved in the liquid formula.
         23           This test must be performed in complete darkness beaause
         24     the reaction to the blood hemoglobins is a luminescence

                                                                                   122
        SAVORY-LL-000674
                                                                     ~-~'26
               1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 62 of 101




         1     or white luminescence.       After the test or after the chemical

         2    is completely dissolved in the liq.ti.d we affix, I affiX~d

         3    this chemical to an aerosol can.

         4          This aerosol can is completely cleaned out with water

         5    after each cause and prior to each cause.                 This aerosol

         6    can is jillt a propellant.        It propels the Luminol chemical

         7    on a surface that possibly contains a blood.

         8           Q     Did you perform this test in any of the rooms and

         9    residence at 3033 West Garden?

        10           A     Yes, I did.

        11           Q     Which rooms?

        12          A      I performed the test in the livingroom, kitchen,
        13    bathroom, bedroom number 1 and bedroom number 2.

        14          Q      What dates were these tests performed?
        15          A      The initial test that was performed in the bathroom
        16    was the first day of the crime scene.

:
 .
        17          Q      What were the results of the Luminol test you
.=
.0:
 0
        18
              performed there in the bathroom?
N

~
0
        19          A      The initial resultwas that I had got a positive
..
i
z       20    reaction from the Luminol as to a substance that was not
.....
z
0



0
        21    visible to the numan eye, had been sprayed on the wall.
u

."
C
z       22          This substance contained blood.
~


        23          Q      What areas in the bathroom did you observe the spray,
        24    in fact?


        SAVORY-LL-000675
              1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 63 of 101




         1            A   The spray effect was on, as you are looking into
         2    the bathroom using my directions again, it would be on the
         3    west wall right above the toilet and up to where the medicine
         4    cabinet came above the sink.
         5            Q   Did you notice any other effects in that particular
         6    room?

         7            A   Ym, there was another gene~al reaction for blood on

         8    the tiles.
         9            Q   And what area of the bathroom?·
        10            A   In the same area.
        11            Q   Any other effects in that particular room from the
        12    Luminol tests?
        13
                      A   No.

        14            Q   Did you perform a test of bedroom number 1, the
        15
              murder bedroom?
       · 16
                      A   Yes,   r did.
<
;:      17
:!                    Q   What effects did you achieve there?
z
a:
~       18            A   I received the same effects on areas which I had
.
0

~       19    seen this red substance, this dried red substance that I
~




..
i
z
z
        20    believed to be blood .
...
,_0
                      I got a definite, positive reaction for blood.
0
        21
...
u


..."
z       22            Q   And what areas specifically in the bedroom were you

        23    getting this reaction from?
       24             A   I had prayed it on the walls.            I had also sprayed


       SAVORY-LL-000676
                 1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 64 of 101




          1      it on the door which I had, from an area where I had scraped
          2      some of that red substance from the door.                 Just so it maybe
          3      clearer, about this test, I had taken standard areas where
          4      I saw that there was no evidence of any blood, areas that
             5   were in the same surface as areas where I had got positive
          6      reactions and I had got negative reactions in those areas,
          7      so I had double checked my work throughout the home.
             8         Q   And any other rooms that you performed this test,
             9   officer, did you get any positive results from the Luminol
         10      tests?

         11            A   Yes, I did.     Now I initially went to the bathroom
         12      on the day of the crime or of the day, of the crime scene.
         13      I then went back and got more reagent.

         14            I only had a small limit supply of reagent.                   I came
         15      back with again with more of the chemical, sprayed the walls
         16      in the bathroom, the walls in the livingroom and the floor
..
 <
         17      of the hallway.
=
...
...
0
         18            Q   Did you discover any effects or results from the
N
0
~
0
         19      Luminol tests in those locations, if any?
~

z
,.;
z
z
         20            A   Yes.   I   got again a better reaction in the bathroom
,..,c
..
0


        21
0
u
                 because I was able to spray a larger area.                 I got the same
....
Q
,c
z       22       reactions to the bedroom door, bedroom, the door going to
        23       bedn:nm number 1, and I got negative reactions in all the
        24
                 other rooms that I had processed.

        SAVORY-LL-000677
                  1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 65 of 101




              1   all material to the offense charged.               The photographs
              2   tend to establish these facts and conditions, and under
              3   such circumstances there production is evidence is a legitimate
              4   mode of proof.
              5         In People v. Tilley 411 473, that is the uterus or
              6   abortion case, states, even though the jury may have a full

              7   description of the injury by the testimony of physicians,
              8   it is not an abuse of discretion to admit into evidence
              9   the uterus to aid the jury in understanding the nature and
         10       extent of t:teinjury in determining how the offense was
         11
                  committed.
         12
                        It is at least, it at ~east tends to prove a circumstance
         13       to be consi~ered by the jury along wi1hall the other evidence.
         14             Now b:>se 2 cases would seem to indicate and support
         15       the position of the State.          I want to bring those to the
         16       attention of defense counsel.           And I would ask you to
.
:        17       submit to the Court any decjaions which state that the type
......
:!

0
         18       of evidence is not admissil:ie, I haven't found any.
N
0
~
0
         19             I just wanted to bring that to everybody's attention
"'l
z
w        20
z
z                 but these 2 cases seem to clearly support the position that
.
,_
0



0
         21       Mr. Gaubas has taken in regard to these items of clothing.
u

...
D

z        22             All right, with that then you can bring back in the
~


         23       jury for cross examination.
         24       (WHEREUPON, THE JURY WAS BROUGHT BACK INTO THE COURTROOM)


         SAVORY-LL-000678
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                    1         Q      were there any other tests that you performed as

                    2   crime scene investigator in charge of the crime scene that

                    3   you recall at this time?

                    4         A      None that I recall at this time.

                    5                  MR. GAUBAS:   May I have just a moment, Your Honor.

                    6         Your Honor, at this point and time I              would tender the

                    7   exhibits that the officer haIB identified, as items into

                    8   evidence, particularly thephotographs defense has had an

                    9   opportunity to observe and offer Officer Jatkowski for
                   10   cross examination.
                   11                  THE COURT:    All right, thank you.
                   12   Before we get into the cross examination of Officer Jatkowski,

                   13   we will take a recess for about 10 minutes, reconvene in

                   14   about 5 minutes.

                   15   (RECESS)
                   16                  THE COURT:    On the record.         During the recess I
..            ~
:


:::!
       l.,.
                   17   have read several of the cases about what can be admitted and
.."
~                  18    what cannot be admitted in People v. Jenko, they.a~e· talking
N
0
~
0
                   19    about explicit photographs.         That is 401 1478 and that case
i
..;
l>:
z
                   20    says that inflammatory and g~uesome photographs can be
,..
..
0
C



0
                   21    admitted
...
 .
"..
C

z                  22          It says that the fact and because of the death, the
                   23    number and the location of wounds, the manner in \filch they
                  24     were inflicted, the willfulness of the acts in which ar~


                  SAVORY-LL-000679
           1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 67 of 101




      1                 THE COURT:    All right, Mr. Vieley, you may proceed,
      2    sir.
      3                 MR. VIELEY:    Thank you, Your Honor.

      4    CROSS EXAMINATION by Mr. Vieley:

      5           Q    Now you testified on direct examination, officer,
      6    that you took several latent fingerprints from the homocide
      7    residence known as 3033 West Garden, is that correct, sir?
      8           A    Yes, latent fingerprints and latent palm prints.
      9           Q    And none of those were of the Defendant, Johnny
     10    Savory, is that correct?
     11
                  A    That is correct, sir.
     12
                  Q    Now I believe you testified also on direct examination
     13
           that you took certain samples of hair from the defendffit?
     14
                  A    Yes, sir.
     15
                  Q    And also you took certain samples of hair, I believe,
     16
           from the sink and the tub, is that correct?
.
<
N
     17           A    Yes, sir.   The hair that was removed or volunteered
=
z
~
0
~
     18    by the defendant was take1at 2 d:if'ferent occasions.               The first
N
0
~    19
~
           occasion was on the 26th of Janua:y, and in which he had
z
w
z    20
z
0
           given the hair voluntarily.
~
C
~



0    21           Q    What time of the day was that?
u
0
C
~
z
~
     22           A    That was in the afternoon, sir.
~




     23           Q    Was that after the arrest?
     24           A    I believe it was, sir, yes.

                                                                               128

                                                                    ~~\
    SAVORY-LL-000680
              1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 68 of 101




         1          Q     When was the other occasion?

         2          A     The other occasion was on March 1st at St. Francis

         3    Hospital.      It was on the same day that we had drawn the

         4    blood from him.
         5          Q     Now did you take any samples of hair from a man
         6    named Kenny Parker?
         7          A     No, sir.
         8          Q     Did you take any samples of hair from a man named
         9    Charles Watts?
        10          A     No, sir.
        11                  MR. GAUBAS:    Your Honor, I am going to object to
        12    this line of testimony.          I think it is totally irrelevant.
        13                  THE COURT:     Overruled at this time.            It may get
        14    to that point.         I will let him proceed at this time.
        15
              MR. VIELEY:
        16
                     Q    Now when you arrived at the murder scene did you
..
N
        17
              notice any hair in the hands of Connie Cooper or James
."'
::!

..
0
        18    Robison?
N
0
~
0
        19           A    I had removed a single hair from Connie Cooper and
~

z
..;
z
z
        20    James Robison.
,..0
C
 ..    21            Q    And im't it true that those hairs did not resemble
0
u

."
C


 .
:;     22      the hairs of Johnny Savory?
       23
                     A    Yes, it is true.
       24            Q    In other words, their hairs were dissim:ll.ar to those

                                                                                  129
       SAVORY-LL-000681
                                                                                   ,I
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            1    of the defendant?
            2          A   I believe the lab report and the officer or the
            3    individual that will testify as to that analysis, I am not
            4    qualified to testify as far as the/analysis on those hairs,
            5    but I am led to believe they did not match Mr. Savory.
            6          Q   All right.     Now isn't it also true, officer, that you
            7    checked under the fingernails of each victim at the scene of
            8    the crime?
            9          A   Yes, it is very true.

        10             Q   And what, if anything, did you find under the finger-

        11      . nails of each victim?

        12             A   When I had submitted the scrapings which I had taken
        13       routinely I take fingernail scrapings in a case of this

        14       magnitude and when I submit these fingernail scrapings, the

        15       individual that was doing the analysis, Mr. Gonsowski, had

        16       indicated t:rere was not sufficient samples to determine
 <
 :      17       any findings at all.
 =
"a:0
.       18             Q   Well, let me ask you this.               Were these fingernail
..
 0
~
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        19       scrapings 001ta ining human flesh?
.
i
z       20             A   Sir, I don t know whether they did or they didn't.
..
z
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.,ci    21       The report that I had received was that there wasn't anything
.."z
...
"       22       of evidentry valu~ from that indication I would imagine that

       23        there wasn't anything at all in those fingernal scrapings

       24        that I had taken.


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         1          But, again, Mr. Gonsowski did the analysis on those

         2    exhibits and when he can tell you what he meant by no

        3     evidentry value.

         4          Q     Now isn't it true that you took so@e fibers of the

         5    rug from the home at 3033 West Garden?

         6          A     Yes, I did, sir.
         7          Q     And those fibers were compared to the shoes of

         8    Johnny Lee Savory, were they not?
         9          A     Yes, yes, they were.
        10          Q     And isn't it true that those fibers taken from this
        11    home did not match the fib,ers taken from Johnny Savory's
        12    shoes?
        13          A     Yes.
       14                   MR. GAUBAS:    Your Honor, at this point I am going
        15    to object.         I think defense is asking this witness about
        16
              a comparison he did not make.
<

=       17          Mr. Gonsowski made the comparisons.
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        18                  THE COURT:     Right, I think that is a good objection.
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        19    He is stating what he has been told by Gonsowski, not what
~

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,.i
z       20    he did.
..
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0      21                   MR. GAUBAS:     Mr. Gonsowski will be our next
u
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..."
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z      22     witness if Mr. Vieley wishes to question him •
       23                   THE COURT:     I think those questions should be put
       24      to Mr. Gonsowski, so I will sustain the objection unless he


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      1    is the one that made theooientific investigation.

      2    MR. VIELEY:
      3          Q     Now you testified on direct that you made a Luminol

      4    test, is that correct?
      5          A     Yes, sir, I did.
      6          Q     NOW that tes~ and as I understand your testimony,
           would show where blood had been on a wall or at any other
      7
           place even though you couldn't see it with your> eye?
      8
                 A     Yes. sir, the sensitivity of that particular test
      9

     10    is one part of blood to 100,000,000 parts of another

     11    substance.

     12           Q    So in other words the way you do that test is as I

     13    understand it, is that a person could walk for example here

     14    to the Courtroom and we cannot see any blood on the wall

     15     today, can we?

     16           A    No, sir.
.
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N
     17           Q    But you could put your Luminol on there and then
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     18     turn the lights out and if blood had been there recently,
N
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0
     19     I assume it would glow and that is what the test is all
z
~




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z    20     about?     Is that a fair statement?
z
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m
0    21           A    Well, let me tell you the results of the test.
u
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     22     If blood had been in a substance which mi been sprayed on a
~



            wall or had been on a certain ob ect and I performed my
     23
            test and got a positive reaction for blood, yes, thatobject
    24



    SAVORY-LL-000684
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         1    as indicated by the test had contained blood at one time.
         2            Q   All right, now did you do that test then for the
         3    livingroom?
         4            A   Yes, I did.
         5            Q   Now did that test indicate anything that blood had
         6    been there?
         7            A   No.
         8            Q   So you reach the conclusion that there was no blood
         9
               in the livingroom?
        10
                      A   Yes, sir.
        11
                      Q   Nor had there been any blood in the livingroom at
        12
              any time, say, during the day of January 18th, 1977?
        13
                      A   As far as the indications of that test, yes, there
        14     was, there was no indication of any blood in the liv:i:l?;room
        15
               at any time.
        16
                      Q   And you believe that tat to be accurate, did you
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               not?
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        18
                      A Yes, the test results that I performed on the door and
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               on in the bathroom were confirmed by later testing by the
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0              Illinois Bureau of Identification.
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        21            Q   That in turn led you to conclude, did it not, that
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Q
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z       22
               the individuals were knifed or killed in bedroom number 1
        23     as opposed to the livingroom?
        24            A   It led me to believe that blood was on the walls

                                                                                  .   133
       SAVORY-LL-000685
                                                                                  Zt,4lo.
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                                                 /




            1   in the bedrooms.      But that there was no blood on the walls
            2   in the livingroom.
            3         I did not give any indication of any blood on the walls
            4   in the livingroom.       But it is not necessarily the fact that
            5   something couldn't have happened in the livingroom in which
            6   blood would not have been on to the walls.
            7         Q   All right, now if they were standing in the living-
            8   room there would be blood on the floor, would there not?
            9         A   There would have been that possibility of it, but
        10
                because so many people had tracked in and out of the house
        11
                by the time I had a chance to do my testing I had got an
        12      indication as I placed in one of my reports a general
        13
                indication of blood on the floor, but not on the walls.
        14            There was a trail that led from the bedroom out to
        15      the front door, but nowhere else in· the l:hlingroom was there
        16      a positive reaction for blood .
.
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        17            The hallway in the, a trial g:Ii.ng directly to the front
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                door, there was an indication of blood.                    But there was no
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        19      blood in any droplets or any kind of general spots as you
..;
i
oi
z      20       would get from an indication of blood dropping on to it,
...
z
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0      21       but rather a general indication where it had been tracked
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:               from one area into another.
       23
                      In fact, there were indications of shoe and footprints
       24
                going out the door.


       SAVORY-LL-000686
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           1            Q   Now didn't you find a footprint outside?

           2            A   Yes, sir.

           3            Q   What size shoe was that?
           4            A   Approximately a 11 and a half inches long.              Now
           5    size of a shoe varies a great deal.                I can only attest to the

           6    exact measurment of the shoe.

           7            From personal experience I have found that more than

           8    one aize will fall within a certain length of shoe, depending

           9    upon the interior construction of tna t shoe.

          10            There were additional prints in the snow, but there

          11    was only one individual shoeprint that I could say that tJ:m

          12    is exactly the length and it was a recent shoeprint.
          13            Q   All right, and it was 11 and a half inches long so

          14    that would be fairly good siz& shoe, would it not?
          15            A   Yes, it would.
          16            Q   An adult shoe?
..
~         17            A   I believe, but as I indicated because of the interior
:!

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          18    construction of the shoe and not knowing whether the person
..
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          19    wearing a shoe wore the correct size, you know, the individual,
"'l
z
          20    I couldn't really say that it would be an adult shoe.
          21            It was a shoe of that proportion, 11,and a half inches
          22    long.
          23            Q   More probably it was an adult shoe,then would that
         24     be a fair statment?


         SAVORY-LL-000687
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           1           A    Well, I cannot really make that statement.              I have

           2    got a younger brother an<J11e has got boats for shoes, and he

           3     is much younger.        He is like 13 or 14 years old, and I

           4     cannot really say honestly on the stand under oath that it

           5     was definitely an adult shoe.           Probably an adult shoe.

           6           Q    Let me ask y:,u specifically, would that 11 and a

           7     half inch print that you just described match a size               7 and
           8     a half shoe?
           9           A    I don't believe it would.
          10           Q    Thank you.      Now in your investigation of this alleged

          11     crime and the after.math of that, did you learn that the

          12     defendant, Johnny Savory wore•a size              7 and a half shoe?
          13           A    I   was never told the exact shoe size of the defendant.
          14           Q    Now returning once again to the Luminol test, did
          15     you do any tests that would pick up the presence of bare
          16
                 feet in the livingroom or the hallway?
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::        17
=                      A    Y~s, I   did.
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          18           Q    Now would you share with us what those resul~ were,
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          19
                 please.
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          20           A    Again, sir, in the hallway and the path that led out
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          21     from the front door to the bedroom, I got a general reaction.
C,



..."'"
z         22     There were some heel and toe type shoes meaning, you know,

          23     a sole and a heel on a shoe, something similar to what the
          24     alternate juror is weari~g over here, the man pictured in


                                                          -~
         SAVORY-LL-000688
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        1    the white shirt and the blue, the black pants.

        2          I got a general indication.            Those were the only

        3    particular prints that I had seen that I could possibly say,

        4    yes, this is the heel and toe shoe.

        5          The other was a general reaction where many JIDple just

        6    like if a fingerprint is placed on top of another fingerprint

        7    it forms a general smear.         The same indication is what I

        8    got with the Luminol test.          It determined a general smear

        9    over that area.
       10          Q     So?
       11          A     I, in answer to your question, I cannot get any
       12    positive analysis that showed that there was a bare foot
       13
             walking on that particular area.
       14          Q     So you are unable to tell us then whether or not
       15    there were bare feet in the livingroom?
       16
                   A     That is correct, sir.
<
:      17
::!                Q     Now I believe you told us also on direct examination
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             that you went to the home of the defendant's father, Y. T.
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             Savory, is that correct?
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                   A     Yes, I did, sir.
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u                  Q     ·~d what date was that?
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z"     22
~                  A     On the 26th of January.
       23
                   Q     What time of day did you go to that home?
      24
                   A     In the late evening.


      SAVORY-LL-000689
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         1           Q     About what time?

         2           A     Oh, it was approximately 9 or 10 o'clock.

         3           Q     And w:o was there when you arrived?

          4          A     Mr. Savory.

          5          Q     That would be the father Savory?

          6          A     Yes, Y. T.

          7          Q     Y. T. ' not my--

          8          A     Not the defendant, Johnny.

          9          Q     All right.    And was there anyone else there besides
         10    you and Y. T. Savory?
         11          A     Officer John Bennett.
         12          Q     And he accompanied you to the father's tiome, is that
        13
               correct?
        14           A     Yes, he did, sir.
         15          Q     Now when you arrived did you have a conversation wi1h
         16
               Y. T. Savory?
<
:        17
=                    A     Yes, sir, I did.
..."0
0:

         18
..
0
                     Q     All right.    Would you tell us what you said and what
~        19
~
               he said.
i
        20
                     A     I cannot give you, you know, it has been approximately
        21
               5 months since I talked to him.           I cannot give you the exact
        22
               conversation that went back and forth.
        23
                     Q     Give us the best you can.
        24
                            MR. GAUBAS:       Your Honor, at this point, I am

                                                                                   138
        SAVORY-LL-000690
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        1    questioning the relevance of this testimony.                   I think pretty

        2    clearly it is hearsay.           I have no idea what he is seeking,

        3    but I donrt see any relevance to test it.                  We have just

        4    discussed that.

        5                 MR. VIELEY:     I thought he testified that he went

        6    to the home and got a pair of pants which--

        7                 THE COURT:    Well, you can ask him about that, but

        8    any conversations he had would be hearsay.                  If you~nt to

        9    know what Mr. Savory had to say, why you can call him.
       10                 MR. VIELEY:    Well, the police officer is ,there and
       11    he is an agent of the state in this case, so I think it
       12    wouldn't be hearsay if it would please the Court.
       13           It would be a conversation in the presence of this man
       14     who was a witness here today subject to my exam.nation and
       15
             Mr. Gaubas' examination.
       16                 THE COURT:     It is hearsay as I understand it.
<
~      17
:!            I will sustain the objection on the basis of what Y. T. Savory:
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       18
              was hearsay. You wa,nt to examine him about the pants that he
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~      19
              obtained, why you can go ahead.
,i

       20                 MR. VIELEY:     That is the purpose of my question,
       21
              if I may, Your Honor.
       22
              MR. VIELEY:
       23
                    q    Did you have a conversation a~obt the pants with
       24
              Y. T. Savory?


      SAVORY-LL-000691
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         1          A     Yes, I did.

         2           Q    All right, now what did you say to him and what did he

         3    say to you?

         4           A    Again, I cannot exactly remember what I had said to

         5    him, but generally I had told Mr. Savory that we were coming

         6    to the apartment to collect a pair of blue pants that I had

         7    been told that Johnny was wearing.

         8           Q And what did he say to you?
         9           A    He said, well be my guest.
        10           Q    And then what happened?

        11           A    Then I searched an area of the home and I found these

        12     pants rolled up in a sheet.
        13           Q    What else did you find besides the pants?
        14           A    I found a pair of green pants, this pair of blue
        15     pants, another pair of blue pants, a yellow comb and we had
        16     collected all the garbage from the house .
..
:       17           Q    Was there a girls dress that you found also?
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        18           A    There was a night gown that I had found earlier .
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        19     It was in another, or many bags inside the house, approximatel~
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        20     20 bags that contained, well they are larger garbage size
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        21     bags that stood about this high and each bag was contained
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u

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C

z       22     a quantity of clothing .
:
        23           One of the bags had a night gown from a woman and it
        24     had washed out stains on it.


       SAVORY-LL-000692
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        1           Q     Now did Mr. Savory tell you how those stains got

        2    there?
        3           A     Yes, he did.

        4           Q     Would you tell us whatyou said and wh:t he said.

        5                      MR. GAUBAS:    Again, Your Honor, I am gd.ng to

        6                  I    think this   :is clearly   hearsay.
              object.
        7
                               THE COURT:    Sustained.
        8                      MR. VIELEY:    Judge, I     think I     would like to make
        9    an offer of proof out of the presence of the jury.
       10
                               THE COURT:    Certainly.      I   will excuse the jury.
       11
              (WHEREUPON, THE JURY WAS TAKEN OUT OF THE COURTROOM)
       12
                               THE COURT:    You can just state for the record
       13
              what you feel his testimay would be.                 I   am certain you know
       14
              it.
       15
                               MR. VIELEY:    I don't want to mis-state it.
       16
                               THE COURT:    Go ahead and ask your questions·.
<
;:     17
=                              MR. VIELEY:    First of all I want to renew my
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       18     objection.         I don't think, if it please the Court, that this
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       19     is hearsay.         Now this man wa~ no doubt about i~ is an agent
"'l
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,.;
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       20     of the police force and was a representative of the police
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       21
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u
              office in queetion.

....
C,
C
z      22           Now it is true trat the defendant wasn't there, but we
       23     are the ones that are asking for the response, not the State,
       24     to this question.         I think the State were trying to get this
                                                                                     141
       SAVORY-LL-000693
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          1   and I objected it would be objectionable.                   But my point is

          2   that there is a police agent there having a conversation.

          3   I want that in the record.

          4         And I don't think it is hearsay because this man can

          5   be asked and cross examined as to what was said and also

          6   could be examined by Mr. Gaubas on redirect.

          7                THE COURT:    Yes.

          8                MR. VIELEY:    So first of all, I don't think it is
          9   hearsay, Your Honor.
         10
                           THE COURT:    Go ahead.
        11
              MR. VIELEY:
        12          Q     All right, tell us for the sake of the record what
        13
              was said by you and what Mr. Y. T. Savory said.
        14          A     Okay, I had asked Mr. Savory out at the house how
         15
              the stains got on the night gown and Mr. Savory told me he
         16
              had cut himself and that/he had used that night gown to wrap
:"'      17
::!           around the wound.      That is the extent of the conversation.
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It"'    18
N
                    Q     What, if anything, was said with respect to the pants,
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0       19·
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              the blue pants that have been marked as exhibits?
w       20
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z
,.
                    A     He never directly said anything as far as the blue
..
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C


0
        21    pants thPt are marked as evidence.                  The orily time that he
u

"'
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"z
~
        22    had indicated anything about cutting his leg was when I
       . 23   pulled out, I pulled out a night gown and there was one other
        24    piece of clothing inside the house that I--It had been


       SAVORY-LL-000694
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          1    obviously washed.      It had stans and obviously had been

          2    washed and I had asked him c!bout this and he said that he

          3    had cut himself and he was bleeding pretty badly and he

          4     just wrapped this around the mund.

          5           Q    Did Mr. Savory, Y. T. Savory show you the wound at

          6     any time?

          7           A    No, he didn't.

          8           Q    Did you have any reason to doubt him as to what he

          9     had said?
         10           A    No, I didn't have any reason to doubt him.
         11           Q    was there any other conversation that took pace
         12     on the day that I am asking you about?
         13           A    Well, we had asked him about the garbage.               We were
         14     searching for any kind of evidence that had trace material
         15     on it.     So we had said, do you mind if we go through your
         16
                garbage.     And he said, no, go right ahead.
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 .       17
                      He says, it hasn't been emptied since 3 weeks ago.                 He
 ,.=
."'
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         18
                said nobody has come to pick it up.               You are welcome to go
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~
0
         19     out to the cans in the alley and go through them and go througl
"'l

..
z
z        20
                the garbage I have in the house.
,.,cz
0

..       21
0                     So we had colleced all the garbage and went through it.
..
u
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..
..
z        22           Q    Was the knife taken at that point and time, Exhibit
         23
                Number 44 A?
         24
                      A    No.   The knife I received from George, Officer George


        SAVORY-LL-000695
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       1    Pinkney at the Peoria Police Station.

       2           Q     All right.

       3                   MR. VIELEY:     If it please the Court, that would

       4    c on elude our off er of praf.

       5                  THE COURT:     All right, is th ere any objections to

       6     that evidence?
       7                   MR. GAUBAS:     Certainly, Your Honor, on tw.o bases-..

       8                   THE COURT:     Go ahead.

       9                   MR. GAUBAS:     First, it isn't c~arly hearsay because
      10     it is offered for no other reason than to show the truth
      11     of the matter stated trerein.         The statement by Y. T. Savory,
      12     the indi~dual for whose credibility we are not prepared to
      13    vouch, particularly in form of hearsay that he gave
      14    Officer Jatkowski.          It is clearly hearsay.
       15          Point number 2, that it is not relevant to this case.
      16
             I would be the first to agree that apparently a bloody night
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;:    17
            gown might be interesting evidence in some other case, has
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...
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      18
N
            absolutely no relevance to this case, since was not identified
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      19
            as being the night gown belonging to anybody in this case.
      20          The testimony just offered which, ~ain, would serve as
      21    hearsay, pertains not at all to any item that is in e~dence
      22    in this case, particularly those blue pants, so it is not
      23
            relevant.
      24
                  For those 2 reasons we would strongly object to any


      SAVORY-LL-000696
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       1     further testimony along these lines.

       2                     THECOURT:     Hunt~'s says on page 601, in that,

       3             "There is some confusion about the hearsay rule in

       4             that there seems to be a common conception that an

        5            out-of-court statement offered in court for its truth

       6             becomes admissible if the party against whom it is

        7            offered was present at the time the statement was

        8            made.
        9            His presence at that time does not make a hearsay
       10            statement admissible in evidence unless the doctrine
      11             of admission by silence would be applicable",
      12     which we don't have here.
      13
                     All right, here is some inappJicability of the hearsay
      14     rule.       States here again,
       15            '!An extrajudicial statement is not deprived of its
       16
                     hearsay nature by the fact that the opposing party
       17
::!                  was present", the opposing party in this case being
       18
..
0
             the State,
~      19
                     "And the presence of the opposing party when the
      20
                     statement was rmde does not, in itself, make such
      21
                     statement admissible, although it might be admissible."
      22
                             MR. VIELEY:    If it please the Court, I            don't mean
      23
             ·:to argue or belabor the point, but it seems to me the
      24
             State did get some hearsay in, I believe, it was yesterday,

      SAVORY-LL-000697
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         1    concerning what Mr. and Mrs. Douglas said to each other.

         2            I think that was hearsay and I did object and it did

         3    go in and '\ten there was some hearsay.

         4                   THE COURT:    That was an exception as it is other-

         5    wise.       That was the basis of that.

         6                   MR. GAUBAS:    Because the one point, Your Honor,

         7    Oh My God--

         8                   MR. VIELEY:    There was more t:tm, Oh My God, went

         9    into the record.       I    am sure there are some conversations.

        10                   MR. GAUBAS:    The only point I recall it was
        11    objected to.
        12                   THE COURT:      Yes, I cbn't recall.        I am going to
        13    sustain the objection on both grounds.                If it is hearsay
        14    and also that based upon what he says he is going to testify
        15     to doesn't have anything to do with this case.
        16            I think it is a collateral issue, a side issue .
..
=       17     You know, if he was ging to testify, well, yes, Johnny brought
:!

"
I?"'    18
..             that home, a boy on the street brought that home, something,
0
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0
        19     you know, if there is any kind of excerpts in this case
..;
i
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z
        20     then it would still be material, but I think it is hearsy.
,.
0
C
 .      21
 ,;                          MR. VIELEY:     Well, the trouble with this is, is
..
u

C
z       22     that the State now has got us in a bind because they put
~


        23
               these bloody pants at.the house and now the burden is on us
        24
               to explain how they got that way and I, I cannot do it with
                                                                                  146
       SAVORY-LL-000698
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         1    this man's testimony.

         2                 MR. GAUBAS:    Well, the bind is very easi.J.y resolved,

         3    Your Honor.     If in fact what Mr. Y. T. Savory is the truth,

         4    Mr. Y. T. Savory is very accessible and can be brought to

         5    this Courtroom as a defense witness.

         6                 MR. VIELEY:    He cannot be brought here today,--

         7                 MR. GAUBAS:    Well, when your side of the case is

         8    presented.
         9                 THE COURT:    You cannot pit on everthing. on.

        10                 MR. VIELEY:    That is the problem

        11                 THE COURT:    Mr. Y. T. Savory is still in the

        12    County Jail isn't he?
        13                 MR. GAUBAS:    The last I heard he is, Your Honor.

        14                 ~HE COURT:    He hasn't been transported to the
        15    Department of Corrections.
        16                 MR. GAUBAS:     I don't believe he has been sentenced.
<
:       17
:!                         THE COURT:    Has not been sentenced, so he is
,.z
~       18
N
              available, readily available to testify as counsel says.
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        19          All right, you can bring the jury back in.
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z
        20     (WHEREUPON, THE JURY WAS BROUGHT BACK INTO THE COURTROOM)
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        21                 THE COURT:    All right, the Court did sustain the
u
.
Q


z       22
~             objection of the State to 1te question.
        23
              MR. VIELEY:
       24            Q    Now you 4 old us, officer, that you had a conver


       SAVORY-LL-000699
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         1    with Y. T. Savory, the father, did you not?

         2          A     Yes, I did.

         3          Q     And that conversation concerned how the blood got

         4    into these garments, did it not?

         5          A     The night gown?
         6          Q     Yes.
         7          A     And the other garment.

         8                     MR. GAUBAS:        Your Honor, I am going to object.

         9    This was the very material the Court sustained my objection
        10
              on.
        11                     MR. VIELEY:        I am not asking for what they said.
        12    I   am asking mat the conversation was.
        13                                        Merely asking for a hearsay conclusion
                               MR. GAUBAS:
        14    based on that conversation.
        15                                         will sustain the objection?
                               THE COURT:     I
        16                                                is a proper way to present that
                               MR. GAUBAS:        There
<
 .      17
               evidence and I        think the Court--
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~       18
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                               THE COURT:     Certainly •
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        19
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z
              MR. VIELEY:
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z       20
z                    Q        Now at the close of this conversation did you believe
.
~
C

        21
               what--Mr. .Y. T. Savory told you?
                          1



        22
                                MR. GAUBAS:       I object, Your Honor.          That is asking
       23
               for a conclusion.
       24
                                THE COURT: Sustained.


       SAVORY-LL-000700
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         1     MR. VIELEY:
         2           Q     Did you remove any of these documents at the
         3     conclusion of the conversation?
          4                  THE COURT:      Documents?     Documents?
          5    MR. VIELEY:
          6          Q     I am sorry, any garments?
          7          A     I removed the blue pants, but that wasn't what we
          8    were talking about, the night gown and the other garment,
          9    no, I did not remove.
         10
                     Q     You did not?
         11
                     A     No.
        12           Q     So you placed no evidentry value on them at that time?
        13
                     A     No, I did not.
        14           Q     And they are not evidence in this case, is that
         15
               correct?
         16
                     A     That is true .
.
:        17
::!                  Q     Now did Mr. Savory, Senior, show you a sutured
:r
0:
~        18
N
0
               laceration on his left thigh?
~       19
:i.
                     A     No.
.;
z       20
z
,_,c0                        MR.   GAUBAS:    Objection, Your Honor.          We have been
.       21
0
u              1hrough this.       It is thoroughly not relevant.
"
,c

..."
z       22
                             THE COURT:      It has been asked and answered.
        23.
               I will let the answer stand.
        24
                             MR. VIELEY:      Please the Court, I would like to


        SAVORY-LL-000701
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        1     show this officer a copy of his pdice report if I may to

        2     refresh his recollection.

        3                 MR. GAUBAS:    Your Honor, I don·t believe--

        4                 THE COURT:    On this issue?

        5                 MR. VIELEY:     Yes.

        6                 MR. GAUBAS:     I don it believe there is any showing

        7     of the exhaustion.

        8                 THE COURT:    I will sustain the objection.             I don 1 t--

        9     we are talking about a cut on the father's leg, aren't you?

       10                 MR. VIELEY:     On the thigh.

       11                 THE COURT:    On the thigh.

       12                 MR. VIELEY:     The father's thigi, Your Honor.
       13                 THE COURT:    Yes.      I will sustain the objection

       14     on the grounds thtit is not material.

       15     MR. VIELEY:
       16           Q    You and Officer Pinkney were the only officer_s at
<
:      17     the home of Y. T. Savory, is that correct?
::!
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       18           A    No, I had gone previously to the house prior on the
N
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       19     day with Officer Pinkney and Officer Fiers.                 But at that
~

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..;
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z
       20     time he hd not indicated to me personally any sutured mark
..
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>
,c


ci
       21     on his leg.
u

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Q
,c


.
:      22           Q    Could he have indicated that to Officer Fiers?
       23           A    I don't know what he had indicated, but he personally
       24     did not indicate anything to me.


      SAVORY-LL-000702
               1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 90 of 101




          1          Q     All right.     But you are telling me that Officer

          2    Fiers went in at another time?
          3          A     Yes, he did.     It was earlier in the day.
          4          0",   All right.     Now did you do any tests on the clothing

          5    of' the Def'endant, Johnny Savory, such as the cap or the
          6    maroon trousers?
          7          A     Those items--Are you talking with the items of
          8    clothingthat were taken off of the defendant at the time of
          9    his arrest?
         10
                     Q     Yes.
         11          A     Those items of' clothing were submitted to the Pekin
         12
               Bureau of Identification Laboratory?
         13
                     Tmt night that we had collected the clothing, collected
         14
               them in individual containers, we had arranged for the
         15
               criminalist at the Pekin Laboratory, Judith Keinzler to
         16
               analyze those items .
...."    17
::!                   I had, Officer Bennett and myself picked up Miss Keinzler
...
z
0
         18
               and took her to the Pekin Laboratory where she performed
"0
~
0
         19
               the examination.
         20
                      Q    And do you know if the test was negative for bbod
         21
               on those items?
         22
                             MR. GAUBAS:     Your Honor, I think there is a
         23
               proper way to present this evidence.               This Officer did not
         24
               conduct the tests.


        SAVORY-LL-000703
             1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 91 of 101




        1                  THE COURT:    I will sustain it on the grounds that

        2    he is not the one that made the test.               The only thing he

        3    can testify to i-Jouldagain be what somebody told him and

        4    therefore it is hearsay.

        5    MR. VIELEY:

        6          Q     Were you present when fue test was nro.e?

        7          A     Yes, I wa~.

        8                  MR. VIELEY:    That is all we        rn ve.    Thank you.

        9                  THE COURT:    Thank you, Mr. Vieley.            Anything else,

       10    Mr.   Gaubas?
       11                  MR. GAUBAS:    Just a few questions, Your Honor, on
       12    redirect.
       13    REDIRECT EXAMINATION by Mr. Gaubas:
       14           Q    Officer, this shoe print that was mentioned by defense
       15    counsel on cross examination, do you recall where that was
       16
             found?
C

::     17
::!                 A    Yes, I do.
...
:E
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       18           Q    Where was it, if you can tell us by referring
N
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...
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0
       19    perhaps to the diagram.
"l
z

       20           A    As far as the diagram, ti'       J could get down I could
       21    show you approximately where we are talking about.
       22           Q    Please do so.
       23           A    As far as this diagram is concerned, the picture,
       24
             shrubbery in this area here and here.                There is a sidewalk


      SAVORY-LL-000704
              1:23-cv-01184-CRL-JEH # 318-25    Filed: 04/22/24   Page 92 of 101




        1     that comes from the front door and over to the driveway

        2     in front of the garage.          The shoe print, the one shoe print

        3     that had distinct characteristics to it, not as much as

        4     identifiable characterist'ics, but/they, they were distinct,

        5     you co~ld see the pattern of the shoe was approximately in

        6     this area here, pointed in an area as to go to the street

        7     and towards Western.

        8           Western Avenue would be on this side of the house.

        9     Laramie Avenue would be on the other side.                 The shoe was
       10     pointed in the direction of Western Avenue and Garden Streets.
       11           Q     Did you see anything at all around the shoe print?
       12           A     Yes, on several other shoe print~, the yard was
       13
              covered with shoe prints.
       14           Q     Did that particular shoe print ever have any
       15     particular significance for you in any way?
       16
                    A     Inasmuch as it came from the front of the hou~e
 C

:      17
              and was going towards Eestern and was the only shoe print
.."'
::!

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       18
              that I could possibly see a good shape to and I could give,
~
...
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       19
              you know, give a class characteristic on that particular
z
       20
              type of shoe.
       21
                    It wasn't anything distinct about it at all.
       22
                    Q     Would you please take the stand.             Could 1tE t have
       23
              been an older shoe print, a boot or,--
       24
                    A     No.

                                                                                    153
       SAVORY-LL-000705
                                                                        ~~
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          1          Q     --Or something else?       It was definitely a shoe?

          2          A     It was definitely    a shoe print.
          3          Q     And you say you found no other items of evidence
          4   a round that particular shoe print?
          5          A     No • . In fact, though, the whole yard, both the
          6    front and back yard and the side areas of the house, the
          7    yard was examined and no pieces of evidence were found in
          8    the yards.
          9          We found some pieces of garbage in the back that we
         10    had collected, processed, you know, possible connections to
         11
               the offense, but nothing turned up.
         12
                     Q     Pure speculation at this point?
         13
                     A     It would be, yes.
         14
                     Q     Did you attach any personal significance to that
         15
               print?
         16
                     A     Well, the only thing, like I said, the only
 <
:        17
::!            significance I had placed on that print, the only reason
..
:E
0
         18
N
0
               I had placed that information in my police report was that
::!
0
         19
..,            it was the only print that I could see in the front yard
z

'"
z
z
         20
..
0
,-             that had any characteristics that I could place in my police
0
         21
...            report.
.
Cl


.."..
z        22
                      Q    But as far as you know that print could have been
         23
               made by another officer?
         24
                      A    It could have been.


        SAVORY-LL-000706
              1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 94 of 101




         1                  MR. VIELEY:    Objection.        It has been asked and
         2    roswered.     He is leading the witness.
         3                  THE COURT:    Sustained.
         4    MR. GAUBAS:
         5            Q   Now, officer, you testified just now on cross
         6    examination collecting certain clothing from the defendant
         7     on the day of his arrest, is that true?
         8            A   Yes, that would be January 26th.
         9            Q   Is that the first time you saw the defendant after
        10    you knew that he was arrested?
        11
                      A   Yes, sir.
        12
                      Q   What items of clothing did you take from him,
        13
              then?
        14
                      A   I took a blue hat, sweatshirt, jacket, pair of
        15
              pants, and a knit T. shirt with, it was tan in~color with
        16
               stripes going across it.
::"'    17
=                     Q   What time was this, approximately?
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:E

~       18
                      A   It was in the late afternoon or early evenirg aba.t
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z
              5 o'clock, in that vicinity.            I would have to refresh my
        20
               memory with my report.
        21
                      Q   Where did you take these items of evidence, bff±cer?
        22
                      A   Well, we took him into the bathroom, men's room of
        23
               the Peoria Police Station, detective division floor.
        24
                      Q   Who was present at that time?


       SAVORY-LL-000707
                                                                     ~~           155
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             1          A     Officer John Bennett and myself.

             2           Q    And the defendant 0

             3          A     And the defendant.

             4          Q     Any one else?

             5          A     No.

             6          Q     Did you have any conversation with the defendant at

             7    that time?

             8          A     Yes, I did.

             9          Q     What did you say and what did the defen:lant say?
            10                  MR. VIELEY:    Objection as to the conversation.
            11                  THE COURT:    Overruled.
            12    MR. GAUBAS:
            13          Q     Proceed, office~.
            14          A     Again, it has been 5 months since I had this
            15    conversation.      I have the exact conversation in my police
            16    report. I can give you an overview of what the conversation
    .
    :       17    concerned, but I would rather read it from my police report.
    :!
    ..
    :E

    ~       18
    N
                        Q     You are saying you don't recall exactly what was
    0
    ~
    0
            19
                  said at this time?
    ..
    i
    z
    z
            20          A     I don't recall the exact words.
    ...
    ,.
    0



            21
    0                   Q     Did you prepare a report that represents--
    ..."
    u


    .
    z       22
                        A     I prepared a report that very day after the evidence
            23
I                 was collected.
           24
                        Q     Was that report detailed to the conversation?


           SAVORY-LL-000708
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        1          A     Yes, it does.

        2          Q     Would that refresh your memory?

        3          A     Yes) it would.

        4          Q     Could I ask permission of the Court, Your Honor, to

        5    have the officer look at the report for the purpose of

        6    refreshing his recollection?

        7                  THE COURT:     He may look at the report.

        8    MR. GAUBAS:

        9           Q    Do you have that report with you, officer?

       10           A    Yes, I do.

       11           Q    Please refer to it and let us know when your memory

       12    is refreshed.
       13                  MR. VIELEY: I want to object again.               This is

       14    beyond the scope of my cross examination, Your Honor.
       15                  MR. GAUBAS:     It is directly related to cross
       16     examination, Your Honor.
       17                  THE COURT:     In what regard?
::!


       18                  MR. GAUBAS:     Pertains to the taking of the
.
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0
       19     defendant's clothes.        Mr   Vieley, himself, brought it up.
.;
z      20                  THE COURT:     All right, overruled .
..•
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0
       21    MR. GAUBAS:
u

C
 "z                 Q    Offica-, is your memory now refreshed?
:"     22

       23           A    Yes, it is.

       24           Q    What was that conversation?             What did you say to the


                                                                                   157
      SAVORY-LL-000709
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         1   defendant and what did he say to you?

         2          A     Wel~ initially we had been taking the hair standards

         3   from Mr. Savory, the defendant.             And Mr. Savory had asked

         4   us, he said, what are you taking these for.

         5          And we had replied, Officer Bennett and myself, that

         6   we were taking these hairs to be compared or we were going

         7   to send them to the Chicago Laboratory for analysis.

         8          Then we began examining his cbthing.

         9                    MR. VIELEY:   Objection to we, again, Judge.
    10              A     Well, Officer Bennett was with me.             He was also
    11       examining the clothing with me in this particular instance.
    12
             MR. GAUBAS:
    13
                    Q     What happened then, officer?
    14              A     As we were going through the clothing I had found
    15
             a red stain on a sweatshirt.           And as I was looking at        'tt'E

    16
             stain on the wall, Mr. Savory had state~ that is not·my
    17
             shirt, that is Ray's.
    18
N
                    So we had just collected the evidence and placed it off
0

~   19
             to the side.         Then we asked him to remove his heavy night
    20
             shirt, this tan shirt.         And he stated that that is not the
    21
             mi.rt you want.
    22
                    Q     Did he stte that to you without 81Y" problem?
    23
                    A    Yes, just right ou~, he said, that is not the shirt
    24
             you   i<Ja nt.




    SAVORY-LL-000710
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         1           Q     What, if anything, was your response?

         2           A     And I had said, 1,iell what shirt do we want or why.

         3     No, let's see.      Yeah, I said to him, what shirt do we want

         4     and he said, a blue one.

         5           And     I said, why would we want that shirt.                 And he

         6     says, that is the shirt that I was wearing Tuesday.

         7     Prior to this I had, he had asked, why we were looking at it.

         8     we had been examining for blood.

         9           Q     Was that the nature and extent of the conversation

        10     you had with the defendant at that time?

        11           A     We asked him several other times why we would want

        12     that thirt, you know, the blue shirt that he was wearing
        13     Tuesday.      And he responded, I guess, I just thought you

        14     might want it, several times.           That was the extent of the

        15     conversation.
        16           Q     And officer, thi_s person that you just indicated
 <
 ~      17
::!
               you had the conversation with, the defendant, Johnny Savory,
:E

11"'    18     is he present in the Courtroom today?
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:::
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        19           A     Yes, he is .
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z
        20           Q     Would you please point him out and describe him
,...
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"'      21
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u
               for the Court.
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 .
..."'
z       22           A     He is sitting next to Mr. Vieley in the gray shirt
        23     and tie.
        24           Q     Is that the person that I am now standing behind?

                                                                                    159
        SAVORY-LL-000711
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         1           A    Yes, it is.

         2                  MR. GAUBAS:       Your Honor, may the record reflect

         3    that this officer has identified the defendant in this case.

         4                  THE COURT:       The record will so reflect.

         5                  MR. GAUBAS:       If I may have just a second.         I     don't
         6    believe we have any further questions for Officer Jatkowski,
         7    Your Honor.
         8                  THE COURT:       You may--Any further cross?

         9                  MR. VIELEY:       Yes, sir.
        10    RE-CROSS EXAMINATION BY Mr. Vie ley:
        11           Q    What was the date of this conversation you just
        12
              alleged?
        13
                     A    The 26th of--Well, let me see.             Do you want me to
        14     look at my report?        I   can give it to you.         The 26th of
        15
              January.
        16
                     Q    What time of day, please .
..
~       17
::!                  A    It was in the afternoon, or like I said, the late
        18
N
              afternoon or early evening.            I   couldn't give you a specific
0
~
0
        19
~              time, exact time.
i
.;
z       20
z                    As I remember that particular day it was in the late
.
0
~
        21
0
u             afternoon or eearly evening.
..
....
0

z       22
                     Q    Was this after the arrest?
        23
                     A    Yes, sir, it was.
        24
                     Q    And did you make him strip down to the nude to take

                                                                                   l60
       SAVORY-LL-000712
                 1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 100 of 101




            1    his clothing?

            2            A   No, not   to the nude.

            3            Q   To the shorts?

            4            A   Yes, sir, when we had other clothing for him to step

            5    into.

            6            Q   And this upset the defendant, did it not?

            7            A   The--No, he was very cooperative.             He had, at first,

            8    you know, we had asked him for the hair and he said, here.

            9    I will pull it and he was pullilg the hair for us.

           10            Q   Were any Miranda Warnings given to him prior to the

           11    conversation?
           12                  MR. GAUBAS:    Your Honor, I am going to object to
           13
                 that question.
           14                  THE COURT:     Overruled.
           15
                 MR. VIELEY:
           16            Q   Before the pulling of the hair?
.
<
           17
::!                      A   There was no Miranda Warnings, he volnteered.              He
...""'0    18
..               was asking us questions.         We were answerirg the questions up
0
l:!
0
           19
~
                 to the point where he was talking about the blue shirt.
z
..
z          20
                         I had a$ked him why we wanted the blue shirt.                That is
....
z
0



0
          21
u                the only thing I had asked him.
...
D


          22
..
.,
z
                         Q   When was the Miranda Warning given?
          23
                             It was given the night before, wasn't it?
          24             A   I don't know when the Mranda was given.
                                                                                       161

          SAVORY-LL-000713
           1:23-cv-01184-CRL-JEH # 318-25   Filed: 04/22/24   Page 101 of 101




       1                  MR. GAUBAS:    I object.      This officer doesn't

       2    know when.
       3                  THE COURT:    That is his answer.
       4    MR. VIELEY:
       5            Q   You don't know when it was given then?
       6            A   No, sir.   I knew the man was arrested and that is

       7    a 11.

       8            Q   But you didn't read the card before you had this
       9    conversation about the clothes?
      10
                    A   No, sir, no, sir.     I   had told Johnny before we
      11
            collected the hairs that he didn't have to give us the hairs.
      12
                    o   But he gave them voluntarily?
      13
                    A   YEE, he voluntarily gave them.          He was very cooperative.
      14
                    Q   He wasn't mean to you, or anything like that?
      15
                    A   No.
      16
                    Q     MR. VIELEY:    I believe I have a motion out~ the
C

::    17
            presence of the jury, Your Honor.
      18
                          THE COURT:    All right.      I will excuse the jury.
      19
            (WHEREUPON, THE JURY WAS TAKEN OUT OF THE COURTROOM)
      20
                          THE COURT:    Okay, go ahead, Mr. Vieley.
      21                  MR.VIELEY:    Your Honor, I am ging to have to
      22    move to strike at this time any conversations that was just

      23    elicited and the reason is that it appears that this officer

     24     failed to give any warnings in the form of the Miranda Warning
                                                                                162

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